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EXHIBIT B




                                                                                                                                                  Deadline to Submit Census Form to
   Row        PID                            Name                               Firm       Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                              Defendants

    1        345229   Michael Amoako                      Alexander Law Group, PLC          7:21-cv-63807-MCR-GRJ                                             6/6/2022
    2        345230   Casey Apao                          Alexander Law Group, PLC          7:21-cv-63808-MCR-GRJ                                             6/6/2022
    3        345231   Wade Ayala                          Alexander Law Group, PLC          7:21-cv-63809-MCR-GRJ                                             6/6/2022
    4        345232   Keith Bailey                        Alexander Law Group, PLC          7:21-cv-63810-MCR-GRJ                                             6/6/2022
    5        345233   Ryan Barnes                         Alexander Law Group, PLC          7:21-cv-63811-MCR-GRJ                                             6/6/2022
    6        345236   Donald Beckham                      Alexander Law Group, PLC          7:21-cv-63814-MCR-GRJ                                             6/6/2022
    7        345237   Joshua Black                        Alexander Law Group, PLC                                     7:21-cv-63815-MCR-GRJ                  6/6/2022
    8        345238   Baelyn Blackmore                    Alexander Law Group, PLC          7:21-cv-63816-MCR-GRJ                                             6/6/2022
    9        345240   Audra Bosley                        Alexander Law Group, PLC          7:21-cv-63818-MCR-GRJ                                             6/6/2022
    10       345241   Joshua Bowman                       Alexander Law Group, PLC          7:21-cv-63819-MCR-GRJ                                             6/6/2022
    11       345243   Amado Britton                       Alexander Law Group, PLC          7:21-cv-63821-MCR-GRJ                                             6/6/2022
    12       345244   Dane Brown                          Alexander Law Group, PLC          7:21-cv-63822-MCR-GRJ                                             6/6/2022
    13       345245   Christopher Brubaker                Alexander Law Group, PLC                                     7:21-cv-63823-MCR-GRJ                  6/6/2022
    14       345246   Eric Buechler                       Alexander Law Group, PLC          7:21-cv-63824-MCR-GRJ                                             6/6/2022
    15       345247   Quitney Butler                      Alexander Law Group, PLC          7:21-cv-63825-MCR-GRJ                                             6/6/2022
    16       345250   Alonzo Calix                        Alexander Law Group, PLC          7:21-cv-63828-MCR-GRJ                                             6/6/2022
    17       345253   Danielle Carpenter                  Alexander Law Group, PLC                                     7:21-cv-63831-MCR-GRJ                  6/6/2022
    18       345254   James Carrauthers                   Alexander Law Group, PLC          7:21-cv-63832-MCR-GRJ                                             6/6/2022
    19       345255   Mitchell Case                       Alexander Law Group, PLC                                     7:21-cv-63833-MCR-GRJ                  6/6/2022
    20       345256   Brian Cassidy                       Alexander Law Group, PLC                                     7:21-cv-63834-MCR-GRJ                  6/6/2022
    21       345259   Jeffrey Chaco                       Alexander Law Group, PLC          7:21-cv-63837-MCR-GRJ                                             6/6/2022
    22       345261   Brett Cook                          Alexander Law Group, PLC          7:21-cv-63839-MCR-GRJ                                             6/6/2022
    23       345262   Jeremiah Cook                       Alexander Law Group, PLC          7:21-cv-63840-MCR-GRJ                                             6/6/2022
    24       345263   Richard Cooper                      Alexander Law Group, PLC          7:21-cv-63841-MCR-GRJ                                             6/6/2022
    25       345264   Jose Cotto                          Alexander Law Group, PLC          7:21-cv-63842-MCR-GRJ                                             6/6/2022
    26       345265   Kyle Crafton                        Alexander Law Group, PLC          7:21-cv-63843-MCR-GRJ                                             6/6/2022
    27       345267   Antonio Davis                       Alexander Law Group, PLC          7:21-cv-63845-MCR-GRJ                                             6/6/2022
    28       345268   Harry Delorenzo                     Alexander Law Group, PLC                                     7:21-cv-63846-MCR-GRJ                  6/6/2022
    29       345270   John Donovan                        Alexander Law Group, PLC          7:21-cv-63848-MCR-GRJ                                             6/6/2022
    30       345271   Kyle Dycus                          Alexander Law Group, PLC          7:21-cv-63849-MCR-GRJ                                             6/6/2022
    31       345273   Abayomi Emiabata                    Alexander Law Group, PLC                                     7:21-cv-63851-MCR-GRJ                  6/6/2022
    32       345274   Theodore Ernst                      Alexander Law Group, PLC          7:21-cv-63852-MCR-GRJ                                             6/6/2022
    33       345276   Timothy Fedrick                     Alexander Law Group, PLC                                     7:21-cv-63854-MCR-GRJ                  6/6/2022
    34       345277   Tobey Feuer                         Alexander Law Group, PLC          7:21-cv-63855-MCR-GRJ                                             6/6/2022
    35       345278   Lawrence Fletcher                   Alexander Law Group, PLC                                     7:21-cv-63856-MCR-GRJ                  6/6/2022
    36       345279   Cherri Forrester                    Alexander Law Group, PLC          7:21-cv-63857-MCR-GRJ                                             6/6/2022
    37       345280   Kinyoun Foster                      Alexander Law Group, PLC          7:21-cv-63858-MCR-GRJ                                             6/6/2022
    38       345281   Kinyoun Foster                      Alexander Law Group, PLC          7:21-cv-63859-MCR-GRJ                                             6/6/2022
    39       345285   Stephen Garcia                      Alexander Law Group, PLC                                     7:21-cv-63863-MCR-GRJ                  6/6/2022
    40       345286   Gustavo Garcia                      Alexander Law Group, PLC          7:21-cv-63864-MCR-GRJ                                             6/6/2022
    41       345287   Christopher Gentry                  Alexander Law Group, PLC          7:21-cv-63865-MCR-GRJ                                             6/6/2022
    42       345288   Christopher Gontar                  Alexander Law Group, PLC          7:21-cv-63866-MCR-GRJ                                             6/6/2022
    43       345289   Maria Gonzalez-Mesropian            Alexander Law Group, PLC                                     7:21-cv-63867-MCR-GRJ                  6/6/2022
    44       345290   Deborah Griffin                     Alexander Law Group, PLC                                     7:21-cv-63868-MCR-GRJ                  6/6/2022
    45       345299   Donald Hamilton                     Alexander Law Group, PLC          7:21-cv-63877-MCR-GRJ                                             6/6/2022
    46       345301   Gregory Handy                       Alexander Law Group, PLC                                     7:21-cv-63879-MCR-GRJ                  6/6/2022
    47       345304   Jennifer Hardy                      Alexander Law Group, PLC          7:21-cv-63882-MCR-GRJ                                             6/6/2022
    48       345305   Michael Harleston                   Alexander Law Group, PLC          7:21-cv-63883-MCR-GRJ                                             6/6/2022
    49       345308   Wayne Harrison                      Alexander Law Group, PLC          7:21-cv-63886-MCR-GRJ                                             6/6/2022
    50       345315   Khun Hein                           Alexander Law Group, PLC          7:21-cv-63893-MCR-GRJ                                             6/6/2022
    51       345316   Joseph Herbert                      Alexander Law Group, PLC          7:21-cv-63894-MCR-GRJ                                             6/6/2022
    52       345328   Charles Hines                       Alexander Law Group, PLC          7:21-cv-63906-MCR-GRJ                                             6/6/2022
    53       345331   Lorelle Holcomb                     Alexander Law Group, PLC          7:21-cv-63909-MCR-GRJ                                             6/6/2022
    54       345336   Todd Hotis                          Alexander Law Group, PLC          7:21-cv-63914-MCR-GRJ                                             6/6/2022
    55       345338   John Hughes                         Alexander Law Group, PLC          7:21-cv-63916-MCR-GRJ                                             6/6/2022
    56       345339   John Humphries                      Alexander Law Group, PLC          7:21-cv-63917-MCR-GRJ                                             6/6/2022
    57       345341   Randy Hurtt                         Alexander Law Group, PLC                                     7:21-cv-63919-MCR-GRJ                  6/6/2022
    58       345350   Samuel James                        Alexander Law Group, PLC          7:21-cv-63928-MCR-GRJ                                             6/6/2022
    59       345352   Franklin Jenkins                    Alexander Law Group, PLC          7:21-cv-63930-MCR-GRJ                                             6/6/2022
    60       345353   Quasi Jenkins                       Alexander Law Group, PLC                                     7:21-cv-63931-MCR-GRJ                  6/6/2022
    61       345354   Frank Jennings                      Alexander Law Group, PLC          7:21-cv-63932-MCR-GRJ                                             6/6/2022
    62       345355   Carlos Jimenez                      Alexander Law Group, PLC          7:21-cv-63933-MCR-GRJ                                             6/6/2022
    63       345357   Christopher Johnson                 Alexander Law Group, PLC          7:21-cv-63935-MCR-GRJ                                             6/6/2022
    64       345359   David Johnson                       Alexander Law Group, PLC          7:21-cv-63937-MCR-GRJ                                             6/6/2022
    65       345360   Jesse Johnson                       Alexander Law Group, PLC          7:21-cv-63938-MCR-GRJ                                             6/6/2022
    66       345367   Tara Jones                          Alexander Law Group, PLC          7:21-cv-63945-MCR-GRJ                                             6/6/2022
    67       345368   Will Jones                          Alexander Law Group, PLC          7:21-cv-63946-MCR-GRJ                                             6/6/2022
    68       345372   Bobby Keeling                       Alexander Law Group, PLC          7:21-cv-63950-MCR-GRJ                                             6/6/2022
    69       345374   Delfonta Kelly                      Alexander Law Group, PLC          7:21-cv-63952-MCR-GRJ                                             6/6/2022
    70       345375   Ricky Kemper                        Alexander Law Group, PLC          7:21-cv-63953-MCR-GRJ                                             6/6/2022
    71       345377   Matthew Kenyon                      Alexander Law Group, PLC                                     7:21-cv-63955-MCR-GRJ                  6/6/2022
    72       345384   Jason Kmiotek                       Alexander Law Group, PLC          7:21-cv-63962-MCR-GRJ                                             6/6/2022
    73       345385   Rick Koch                           Alexander Law Group, PLC          7:21-cv-63963-MCR-GRJ                                             6/6/2022
    74       345387   Joseph Kopp                         Alexander Law Group, PLC                                     7:21-cv-63965-MCR-GRJ                  6/6/2022
    75       345391   Chad Landuyt                        Alexander Law Group, PLC          7:21-cv-63969-MCR-GRJ                                             6/6/2022




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EXHIBIT B




                                                                                                                                                  Deadline to Submit Census Form to
   Row        PID                          Name                                 Firm       Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                              Defendants

    76       345392   Jeury Lantigua                      Alexander Law Group, PLC                                     7:21-cv-63970-MCR-GRJ                  6/6/2022
    77       345393   Michael Laseur                      Alexander Law Group, PLC          7:21-cv-63971-MCR-GRJ                                             6/6/2022
    78       345394   Alan Lawson                         Alexander Law Group, PLC          7:21-cv-63972-MCR-GRJ                                             6/6/2022
    79       345401   Reginald Lewis                      Alexander Law Group, PLC          7:21-cv-63979-MCR-GRJ                                             6/6/2022
    80       345406   James Little                        Alexander Law Group, PLC          7:21-cv-63984-MCR-GRJ                                             6/6/2022
    81       345412   Brian Lowhorn                       Alexander Law Group, PLC          7:21-cv-63990-MCR-GRJ                                             6/6/2022
    82       345414   Anthony Luckett                     Alexander Law Group, PLC          7:21-cv-63992-MCR-GRJ                                             6/6/2022
    83       345415   Amy Mabes                           Alexander Law Group, PLC          7:21-cv-63993-MCR-GRJ                                             6/6/2022
    84       345416   Willie Mabrey                       Alexander Law Group, PLC          7:21-cv-63994-MCR-GRJ                                             6/6/2022
    85       345417   Karl Mackay                         Alexander Law Group, PLC          7:21-cv-63995-MCR-GRJ                                             6/6/2022
    86       345418   Raymond Madison                     Alexander Law Group, PLC          7:21-cv-63996-MCR-GRJ                                             6/6/2022
    87       345419   Zeferino Madrigal                   Alexander Law Group, PLC          7:21-cv-63997-MCR-GRJ                                             6/6/2022
    88       345420   Brighan Madriz                      Alexander Law Group, PLC          7:21-cv-63998-MCR-GRJ                                             6/6/2022
    89       345421   Thomas Maksimik                     Alexander Law Group, PLC          7:21-cv-63999-MCR-GRJ                                             6/6/2022
    90       345422   Gregory Mancha                      Alexander Law Group, PLC          7:21-cv-64000-MCR-GRJ                                             6/6/2022
    91       345423   Crystal Manning                     Alexander Law Group, PLC          7:21-cv-64001-MCR-GRJ                                             6/6/2022
    92       345424   Robert Mareda                       Alexander Law Group, PLC          7:21-cv-64002-MCR-GRJ                                             6/6/2022
    93       345425   Malik Marell                        Alexander Law Group, PLC          7:21-cv-64003-MCR-GRJ                                             6/6/2022
    94       345426   Stephen Maro                        Alexander Law Group, PLC          7:21-cv-64004-MCR-GRJ                                             6/6/2022
    95       345427   Ritchie Marquez                     Alexander Law Group, PLC          7:21-cv-64005-MCR-GRJ                                             6/6/2022
    96       345428   Raul Marquez                        Alexander Law Group, PLC                                     7:21-cv-64006-MCR-GRJ                  6/6/2022
    97       345429   Timothy Martin                      Alexander Law Group, PLC          7:21-cv-64007-MCR-GRJ                                             6/6/2022
    98       345430   Ryan Martin                         Alexander Law Group, PLC          7:21-cv-64008-MCR-GRJ                                             6/6/2022
    99       345431   Carlos Martinez                     Alexander Law Group, PLC          7:21-cv-64009-MCR-GRJ                                             6/6/2022
   100       345432   John Martinez                       Alexander Law Group, PLC          7:21-cv-64010-MCR-GRJ                                             6/6/2022
   101       345434   Donald Maul                         Alexander Law Group, PLC          7:21-cv-64012-MCR-GRJ                                             6/6/2022
   102       345435   Lakein Mayfield                     Alexander Law Group, PLC          7:21-cv-64013-MCR-GRJ                                             6/6/2022
   103       345436   Anya Mayo                           Alexander Law Group, PLC          7:21-cv-64014-MCR-GRJ                                             6/6/2022
   104       345437   Ernest Mayshack                     Alexander Law Group, PLC          7:21-cv-64015-MCR-GRJ                                             6/6/2022
   105       345438   Blake Mcaleavey                     Alexander Law Group, PLC          7:21-cv-64016-MCR-GRJ                                             6/6/2022
   106       345439   Larry Mccauley                      Alexander Law Group, PLC          7:21-cv-64017-MCR-GRJ                                             6/6/2022
   107       345441   James Mccollem                      Alexander Law Group, PLC          7:21-cv-64019-MCR-GRJ                                             6/6/2022
   108       345442   Patrick Mccrady                     Alexander Law Group, PLC          7:21-cv-64020-MCR-GRJ                                             6/6/2022
   109       345443   Anthony Mccullum                    Alexander Law Group, PLC          7:21-cv-64021-MCR-GRJ                                             6/6/2022
   110       345444   Bernard Mcdonald                    Alexander Law Group, PLC          7:21-cv-64022-MCR-GRJ                                             6/6/2022
   111       345445   Stephen Mcdonald                    Alexander Law Group, PLC          7:21-cv-64023-MCR-GRJ                                             6/6/2022
   112       345446   Chris Mcmichael                     Alexander Law Group, PLC          7:21-cv-64024-MCR-GRJ                                             6/6/2022
   113       345448   Stephanie Means                     Alexander Law Group, PLC          7:21-cv-64026-MCR-GRJ                                             6/6/2022
   114       345449   Patrick Melvin                      Alexander Law Group, PLC          7:21-cv-64027-MCR-GRJ                                             6/6/2022
   115       345450   Shawn Mendiola                      Alexander Law Group, PLC          7:21-cv-64028-MCR-GRJ                                             6/6/2022
   116       345451   Gregory Mertzig                     Alexander Law Group, PLC          7:21-cv-64029-MCR-GRJ                                             6/6/2022
   117       345452   James Meyers                        Alexander Law Group, PLC          7:21-cv-64030-MCR-GRJ                                             6/6/2022
   118       345453   Jose Milan                          Alexander Law Group, PLC          7:21-cv-64031-MCR-GRJ                                             6/6/2022
   119       345454   Leon Miles                          Alexander Law Group, PLC          7:21-cv-64032-MCR-GRJ                                             6/6/2022
   120       345455   Brian Miller                        Alexander Law Group, PLC          7:21-cv-64033-MCR-GRJ                                             6/6/2022
   121       345456   Michael Miller                      Alexander Law Group, PLC          7:21-cv-64034-MCR-GRJ                                             6/6/2022
   122       345458   Ricardo Miranda                     Alexander Law Group, PLC          7:21-cv-64036-MCR-GRJ                                             6/6/2022
   123       345459   Holly Monroe                        Alexander Law Group, PLC          7:21-cv-64037-MCR-GRJ                                             6/6/2022
   124       345460   Paul Montgomery                     Alexander Law Group, PLC          7:21-cv-64038-MCR-GRJ                                             6/6/2022
   125       345461   Gerald Montgomery                   Alexander Law Group, PLC          7:21-cv-64039-MCR-GRJ                                             6/6/2022
   126       345462   Kenneth Morgan                      Alexander Law Group, PLC          7:21-cv-64040-MCR-GRJ                                             6/6/2022
   127       345463   Herbert Morrison                    Alexander Law Group, PLC          7:21-cv-64041-MCR-GRJ                                             6/6/2022
   128       345464   Kevin Muller                        Alexander Law Group, PLC          7:21-cv-64042-MCR-GRJ                                             6/6/2022
   129       345465   Aaron Munson                        Alexander Law Group, PLC          7:21-cv-64043-MCR-GRJ                                             6/6/2022
   130       345467   Brian Murphy                        Alexander Law Group, PLC          7:21-cv-64045-MCR-GRJ                                             6/6/2022
   131       345468   Crystal Musalo                      Alexander Law Group, PLC          7:21-cv-64046-MCR-GRJ                                             6/6/2022
   132       345469   Alicia Myrie                        Alexander Law Group, PLC          7:21-cv-64047-MCR-GRJ                                             6/6/2022
   133       345470   William Nabors                      Alexander Law Group, PLC          7:21-cv-64048-MCR-GRJ                                             6/6/2022
   134       345471   Stephanie Narvaez                   Alexander Law Group, PLC                                     7:21-cv-64049-MCR-GRJ                  6/6/2022
   135       345472   Augusta Nathaniel                   Alexander Law Group, PLC          7:21-cv-64050-MCR-GRJ                                             6/6/2022
   136       345475   Cameron Neivert                     Alexander Law Group, PLC          7:21-cv-64053-MCR-GRJ                                             6/6/2022
   137       345476   Marc Nelson                         Alexander Law Group, PLC          7:21-cv-64054-MCR-GRJ                                             6/6/2022
   138       345477   Andrew Nemeth                       Alexander Law Group, PLC          7:21-cv-64055-MCR-GRJ                                             6/6/2022
   139       345480   David Nguyen                        Alexander Law Group, PLC                                     7:21-cv-64058-MCR-GRJ                  6/6/2022
   140       345481   Ismael Nicaragua                    Alexander Law Group, PLC          7:21-cv-64059-MCR-GRJ                                             6/6/2022
   141       345483   Sterling Nielsen                    Alexander Law Group, PLC          7:21-cv-64061-MCR-GRJ                                             6/6/2022
   142       345485   Clance Noble                        Alexander Law Group, PLC          7:21-cv-64063-MCR-GRJ                                             6/6/2022
   143       345486   James Nolan                         Alexander Law Group, PLC          7:21-cv-64064-MCR-GRJ                                             6/6/2022
   144       345488   Inez Nowlan                         Alexander Law Group, PLC          7:21-cv-64066-MCR-GRJ                                             6/6/2022
   145       345489   Robert Nyre                         Alexander Law Group, PLC                                     7:21-cv-64067-MCR-GRJ                  6/6/2022
   146       345490   Michael O'Driscoll                  Alexander Law Group, PLC          7:21-cv-64068-MCR-GRJ                                             6/6/2022
   147       345492   Shaun Ogdie                         Alexander Law Group, PLC          7:21-cv-64070-MCR-GRJ                                             6/6/2022
   148       345494   Tarin Ohara                         Alexander Law Group, PLC          7:21-cv-64072-MCR-GRJ                                             6/6/2022
   149       345495   Geoffrey Okelo                      Alexander Law Group, PLC          7:21-cv-64073-MCR-GRJ                                             6/6/2022
   150       345496   Michael O'Leary                     Alexander Law Group, PLC          7:21-cv-64074-MCR-GRJ                                             6/6/2022




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EXHIBIT B




                                                                                                                                                  Deadline to Submit Census Form to
   Row        PID                             Name                              Firm       Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                              Defendants

   151       345497   Carl Oliver                         Alexander Law Group, PLC          7:21-cv-64075-MCR-GRJ                                             6/6/2022
   152       345498   Johnny Oliver                       Alexander Law Group, PLC          7:21-cv-64076-MCR-GRJ                                             6/6/2022
   153       345499   Vilma Oquendo Rodriguez             Alexander Law Group, PLC          7:21-cv-64077-MCR-GRJ                                             6/6/2022
   154       345500   Luis Ortiz                          Alexander Law Group, PLC          7:21-cv-64078-MCR-GRJ                                             6/6/2022
   155       345501   Randy Ortiz                         Alexander Law Group, PLC          7:21-cv-64079-MCR-GRJ                                             6/6/2022
   156       345502   Luis Osnayo                         Alexander Law Group, PLC          7:21-cv-64080-MCR-GRJ                                             6/6/2022
   157       345503   Luis Otero                          Alexander Law Group, PLC          7:21-cv-64081-MCR-GRJ                                             6/6/2022
   158       345504   Monica Paglionehammer               Alexander Law Group, PLC          7:21-cv-64082-MCR-GRJ                                             6/6/2022
   159       345505   Joseph Parker                       Alexander Law Group, PLC          7:21-cv-64083-MCR-GRJ                                             6/6/2022
   160       345506   Kenneth Parker                      Alexander Law Group, PLC          7:21-cv-64084-MCR-GRJ                                             6/6/2022
   161       345507   Stephen Patrick                     Alexander Law Group, PLC          7:21-cv-64085-MCR-GRJ                                             6/6/2022
   162       345508   Gregory Patton                      Alexander Law Group, PLC          7:21-cv-64086-MCR-GRJ                                             6/6/2022
   163       345509   Stephen Paul                        Alexander Law Group, PLC          7:21-cv-64087-MCR-GRJ                                             6/6/2022
   164       345510   Jonathan Pelletier                  Alexander Law Group, PLC          7:21-cv-64088-MCR-GRJ                                             6/6/2022
   165       345511   Sierra Pena                         Alexander Law Group, PLC          7:21-cv-64089-MCR-GRJ                                             6/6/2022
   166       345512   Terrell Pennyamon                   Alexander Law Group, PLC          7:21-cv-64090-MCR-GRJ                                             6/6/2022
   167       345513   Barbara Peoples                     Alexander Law Group, PLC          7:21-cv-64091-MCR-GRJ                                             6/6/2022
   168       345515   Ivan Perez                          Alexander Law Group, PLC          7:21-cv-64093-MCR-GRJ                                             6/6/2022
   169       345517   Apryl Perkins                       Alexander Law Group, PLC          7:21-cv-64095-MCR-GRJ                                             6/6/2022
   170       345518   William Perkins                     Alexander Law Group, PLC          7:21-cv-64096-MCR-GRJ                                             6/6/2022
   171       345521   Erik Pinos                          Alexander Law Group, PLC          7:21-cv-64099-MCR-GRJ                                             6/6/2022
   172       345523   Jamel Porter                        Alexander Law Group, PLC          7:21-cv-64101-MCR-GRJ                                             6/6/2022
   173       345524   Lamar Porter                        Alexander Law Group, PLC                                     7:21-cv-64102-MCR-GRJ                  6/6/2022
   174       345525   Dave Post                           Alexander Law Group, PLC          7:21-cv-64103-MCR-GRJ                                             6/6/2022
   175       345526   Steven Potter                       Alexander Law Group, PLC          7:21-cv-64104-MCR-GRJ                                             6/6/2022
   176       345527   Juan Pouscordero                    Alexander Law Group, PLC          7:21-cv-64105-MCR-GRJ                                             6/6/2022
   177       345528   George Powell                       Alexander Law Group, PLC          7:21-cv-64106-MCR-GRJ                                             6/6/2022
   178       345529   Dale Powell                         Alexander Law Group, PLC          7:21-cv-64107-MCR-GRJ                                             6/6/2022
   179       345530   Terrence Powell                     Alexander Law Group, PLC          7:21-cv-64108-MCR-GRJ                                             6/6/2022
   180       345533   Nathaniel Prather                   Alexander Law Group, PLC          7:21-cv-64111-MCR-GRJ                                             6/6/2022
   181       345534   Brandon Price                       Alexander Law Group, PLC          7:21-cv-64112-MCR-GRJ                                             6/6/2022
   182       345535   Derrick Prosise                     Alexander Law Group, PLC          7:21-cv-64113-MCR-GRJ                                             6/6/2022
   183       345536   Yan Protsyuk                        Alexander Law Group, PLC          7:21-cv-64114-MCR-GRJ                                             6/6/2022
   184       345537   Steven Purdy                        Alexander Law Group, PLC          7:21-cv-64115-MCR-GRJ                                             6/6/2022
   185       345539   Brian Quinn                         Alexander Law Group, PLC          7:21-cv-64117-MCR-GRJ                                             6/6/2022
   186       345540   Vaughn Rains                        Alexander Law Group, PLC          7:21-cv-64118-MCR-GRJ                                             6/6/2022
   187       345541   Chandu Ram                          Alexander Law Group, PLC          7:21-cv-64119-MCR-GRJ                                             6/6/2022
   188       345542   Dagoberto Ramirez                   Alexander Law Group, PLC          7:21-cv-64120-MCR-GRJ                                             6/6/2022
   189       345544   Brad Regal                          Alexander Law Group, PLC          7:21-cv-64122-MCR-GRJ                                             6/6/2022
   190       345545   Scott Rego                          Alexander Law Group, PLC          7:21-cv-64123-MCR-GRJ                                             6/6/2022
   191       345547   Ray Rellamas                        Alexander Law Group, PLC          7:21-cv-64125-MCR-GRJ                                             6/6/2022
   192       345548   Russ Reyes                          Alexander Law Group, PLC          7:21-cv-64126-MCR-GRJ                                             6/6/2022
   193       345549   Christopher Reynaud                 Alexander Law Group, PLC          7:21-cv-64127-MCR-GRJ                                             6/6/2022
   194       345550   Lance Rhoades                       Alexander Law Group, PLC          7:21-cv-64128-MCR-GRJ                                             6/6/2022
   195       345551   David Richard                       Alexander Law Group, PLC          7:21-cv-64129-MCR-GRJ                                             6/6/2022
   196       345552   Sheila Richardson                   Alexander Law Group, PLC          7:21-cv-64130-MCR-GRJ                                             6/6/2022
   197       345553   Melvina Richburg                    Alexander Law Group, PLC          7:21-cv-64131-MCR-GRJ                                             6/6/2022
   198       345554   Jason Richland                      Alexander Law Group, PLC          7:21-cv-64132-MCR-GRJ                                             6/6/2022
   199       345556   David Rife                          Alexander Law Group, PLC          7:21-cv-64134-MCR-GRJ                                             6/6/2022
   200       345557   Juan Rivas                          Alexander Law Group, PLC          7:21-cv-64135-MCR-GRJ                                             6/6/2022
   201       345558   Kevin Rivera                        Alexander Law Group, PLC          7:21-cv-64136-MCR-GRJ                                             6/6/2022
   202       345559   Chrystal Robinson                   Alexander Law Group, PLC          7:21-cv-64137-MCR-GRJ                                             6/6/2022
   203       345560   Bernard Robinson                    Alexander Law Group, PLC          7:21-cv-64138-MCR-GRJ                                             6/6/2022
   204       345561   John Rockwell                       Alexander Law Group, PLC          7:21-cv-64139-MCR-GRJ                                             6/6/2022
   205       345562   Gregory Roddy                       Alexander Law Group, PLC          7:21-cv-64140-MCR-GRJ                                             6/6/2022
   206       345563   Gervacio Rodriguez                  Alexander Law Group, PLC          7:21-cv-64141-MCR-GRJ                                             6/6/2022
   207       345564   Julio Rodriguez                     Alexander Law Group, PLC          7:21-cv-64142-MCR-GRJ                                             6/6/2022
   208       345565   Alejandro Rodriguez                 Alexander Law Group, PLC          7:21-cv-64143-MCR-GRJ                                             6/6/2022
   209       345566   David Rogers                        Alexander Law Group, PLC          7:21-cv-64144-MCR-GRJ                                             6/6/2022
   210       345569   Manuel Rosales                      Alexander Law Group, PLC          7:21-cv-64147-MCR-GRJ                                             6/6/2022
   211       345570   Antonio Rosure                      Alexander Law Group, PLC          7:21-cv-64148-MCR-GRJ                                             6/6/2022
   212       345571   Ferns Roudy                         Alexander Law Group, PLC          7:21-cv-64149-MCR-GRJ                                             6/6/2022
   213       345572   Jennings Rozzell                    Alexander Law Group, PLC          7:21-cv-64150-MCR-GRJ                                             6/6/2022
   214       345573   Phillip Rucks                       Alexander Law Group, PLC          7:21-cv-64151-MCR-GRJ                                             6/6/2022
   215       345574   Heather Rude                        Alexander Law Group, PLC          7:21-cv-64152-MCR-GRJ                                             6/6/2022
   216       345576   Justin Russak                       Alexander Law Group, PLC          7:21-cv-64154-MCR-GRJ                                             6/6/2022
   217       345577   Joselyn Sabas                       Alexander Law Group, PLC                                     7:21-cv-64155-MCR-GRJ                  6/6/2022
   218       345578   Jacob Salcido                       Alexander Law Group, PLC          7:21-cv-64156-MCR-GRJ                                             6/6/2022
   219       345579   Ronnie Sales                        Alexander Law Group, PLC          7:21-cv-64157-MCR-GRJ                                             6/6/2022
   220       345583   Guerlin Saturne                     Alexander Law Group, PLC          7:21-cv-64161-MCR-GRJ                                             6/6/2022
   221       345584   Paul Sayah                          Alexander Law Group, PLC          7:21-cv-64162-MCR-GRJ                                             6/6/2022
   222       345585   David Sayles                        Alexander Law Group, PLC          7:21-cv-64163-MCR-GRJ                                             6/6/2022
   223       345587   Michael Schneider                   Alexander Law Group, PLC          7:21-cv-64165-MCR-GRJ                                             6/6/2022
   224       345588   Justin Schoenenberger               Alexander Law Group, PLC          7:21-cv-64166-MCR-GRJ                                             6/6/2022
   225       345589   Adam Schulz                         Alexander Law Group, PLC                                     7:21-cv-64167-MCR-GRJ                  6/6/2022




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                                                                                                                                                  Deadline to Submit Census Form to
   Row        PID                            Name                               Firm       Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                              Defendants

   226       345590   Ray Schwab                          Alexander Law Group, PLC                                     7:21-cv-64168-MCR-GRJ                  6/6/2022
   227       345591   Keidrick Scott                      Alexander Law Group, PLC          7:21-cv-64169-MCR-GRJ                                             6/6/2022
   228       345592   Sean Scott                          Alexander Law Group, PLC          7:21-cv-64170-MCR-GRJ                                             6/6/2022
   229       345593   Danny Scruggs                       Alexander Law Group, PLC          7:21-cv-64171-MCR-GRJ                                             6/6/2022
   230       345595   Gerald Seegebarth                   Alexander Law Group, PLC          7:21-cv-64173-MCR-GRJ                                             6/6/2022
   231       345596   Malo Sega                           Alexander Law Group, PLC          7:21-cv-64174-MCR-GRJ                                             6/6/2022
   232       345597   Shaquel Severson                    Alexander Law Group, PLC          7:21-cv-64175-MCR-GRJ                                             6/6/2022
   233       345598   Charles Shackelford                 Alexander Law Group, PLC          7:21-cv-64176-MCR-GRJ                                             6/6/2022
   234       345599   Nathanael Shane                     Alexander Law Group, PLC          7:21-cv-64177-MCR-GRJ                                             6/6/2022
   235       345600   Joshua Shankus                      Alexander Law Group, PLC          7:21-cv-64178-MCR-GRJ                                             6/6/2022
   236       345602   David Shepherd                      Alexander Law Group, PLC          7:21-cv-64180-MCR-GRJ                                             6/6/2022
   237       345603   Robert Sherrill                     Alexander Law Group, PLC          7:21-cv-64181-MCR-GRJ                                             6/6/2022
   238       345605   Richard Shirley                     Alexander Law Group, PLC          7:21-cv-64183-MCR-GRJ                                             6/6/2022
   239       345606   Daniel Short                        Alexander Law Group, PLC          7:21-cv-64184-MCR-GRJ                                             6/6/2022
   240       345607   Erik Skrudland                      Alexander Law Group, PLC          7:21-cv-64185-MCR-GRJ                                             6/6/2022
   241       345608   Shaun Slattery                      Alexander Law Group, PLC          7:21-cv-64186-MCR-GRJ                                             6/6/2022
   242       345609   Tonya Smith                         Alexander Law Group, PLC          7:21-cv-64187-MCR-GRJ                                             6/6/2022
   243       345610   Charles Smith                       Alexander Law Group, PLC                                     7:21-cv-64188-MCR-GRJ                  6/6/2022
   244       345612   Darrian Smith                       Alexander Law Group, PLC          7:21-cv-64190-MCR-GRJ                                             6/6/2022
   245       345613   Charles Sorsby                      Alexander Law Group, PLC          7:21-cv-64191-MCR-GRJ                                             6/6/2022
   246       345614   Jd Southall                         Alexander Law Group, PLC          7:21-cv-64192-MCR-GRJ                                             6/6/2022
   247       345616   Jasmine Spain                       Alexander Law Group, PLC          7:21-cv-64194-MCR-GRJ                                             6/6/2022
   248       345618   Karen Spencer                       Alexander Law Group, PLC          7:21-cv-64196-MCR-GRJ                                             6/6/2022
   249       345619   Jerod Spikes                        Alexander Law Group, PLC          7:21-cv-64197-MCR-GRJ                                             6/6/2022
   250       345620   James Spriggs                       Alexander Law Group, PLC          7:21-cv-64198-MCR-GRJ                                             6/6/2022
   251       345623   Robert Spunks                       Alexander Law Group, PLC          7:21-cv-64201-MCR-GRJ                                             6/6/2022
   252       345624   Courtney Stafford                   Alexander Law Group, PLC          7:21-cv-64202-MCR-GRJ                                             6/6/2022
   253       345625   Alvin Stephens                      Alexander Law Group, PLC          7:21-cv-64203-MCR-GRJ                                             6/6/2022
   254       345628   Arthur Stewart                      Alexander Law Group, PLC          7:21-cv-64206-MCR-GRJ                                             6/6/2022
   255       345629   Yvonne Stone                        Alexander Law Group, PLC          7:21-cv-64207-MCR-GRJ                                             6/6/2022
   256       345630   Justin Storch                       Alexander Law Group, PLC          7:21-cv-64208-MCR-GRJ                                             6/6/2022
   257       345632   Helene Stover                       Alexander Law Group, PLC          7:21-cv-64210-MCR-GRJ                                             6/6/2022
   258       345633   Karl Sturgill                       Alexander Law Group, PLC          7:21-cv-64211-MCR-GRJ                                             6/6/2022
   259       345634   David Sturtz                        Alexander Law Group, PLC          7:21-cv-64212-MCR-GRJ                                             6/6/2022
   260       345635   Geoffrey Such                       Alexander Law Group, PLC          7:21-cv-64213-MCR-GRJ                                             6/6/2022
   261       345636   Michelle Sullivan                   Alexander Law Group, PLC          7:21-cv-64214-MCR-GRJ                                             6/6/2022
   262       345637   Christopher Sullivan                Alexander Law Group, PLC          7:21-cv-64215-MCR-GRJ                                             6/6/2022
   263       345638   Tyke Supanchick                     Alexander Law Group, PLC          7:21-cv-64216-MCR-GRJ                                             6/6/2022
   264       345641   Mary Tatum                          Alexander Law Group, PLC          7:21-cv-64219-MCR-GRJ                                             6/6/2022
   265       345642   Travis Tavenner                     Alexander Law Group, PLC          7:21-cv-64220-MCR-GRJ                                             6/6/2022
   266       345643   William Taylor                      Alexander Law Group, PLC          7:21-cv-64221-MCR-GRJ                                             6/6/2022
   267       345644   Felipe Tellez                       Alexander Law Group, PLC          7:21-cv-64222-MCR-GRJ                                             6/6/2022
   268       345645   Gabriel Testerman                   Alexander Law Group, PLC          7:21-cv-64223-MCR-GRJ                                             6/6/2022
   269       345646   Eddie Thomas                        Alexander Law Group, PLC          7:21-cv-64224-MCR-GRJ                                             6/6/2022
   270       345648   David Thomas                        Alexander Law Group, PLC          7:21-cv-64226-MCR-GRJ                                             6/6/2022
   271       345649   Vernon Thompson                     Alexander Law Group, PLC          7:21-cv-64227-MCR-GRJ                                             6/6/2022
   272       345650   Tamela Thompson                     Alexander Law Group, PLC          7:21-cv-64228-MCR-GRJ                                             6/6/2022
   273       345651   Sam Thompson                        Alexander Law Group, PLC          7:21-cv-64229-MCR-GRJ                                             6/6/2022
   274       345652   Shawn Timpson                       Alexander Law Group, PLC          7:21-cv-64230-MCR-GRJ                                             6/6/2022
   275       345654   Thomas Tiritilli                    Alexander Law Group, PLC          7:21-cv-64232-MCR-GRJ                                             6/6/2022
   276       345656   Sepp Tokanaga                       Alexander Law Group, PLC          7:21-cv-64234-MCR-GRJ                                             6/6/2022
   277       345657   Robert Tokerud                      Alexander Law Group, PLC          7:21-cv-64235-MCR-GRJ                                             6/6/2022
   278       345658   Tony Tolentino                      Alexander Law Group, PLC          7:21-cv-64236-MCR-GRJ                                             6/6/2022
   279       345659   Adrianna Torrez                     Alexander Law Group, PLC          7:21-cv-64237-MCR-GRJ                                             6/6/2022
   280       345661   Jose Trevino                        Alexander Law Group, PLC          7:21-cv-64239-MCR-GRJ                                             6/6/2022
   281       345662   Ricky Trice                         Alexander Law Group, PLC          7:21-cv-64240-MCR-GRJ                                             6/6/2022
   282       345663   Randy Troxell                       Alexander Law Group, PLC          7:21-cv-64241-MCR-GRJ                                             6/6/2022
   283       345664   Curtis Turner                       Alexander Law Group, PLC          7:21-cv-64242-MCR-GRJ                                             6/6/2022
   284       345665   Zachary Turner                      Alexander Law Group, PLC          7:21-cv-64243-MCR-GRJ                                             6/6/2022
   285       345666   Christopher Turner                  Alexander Law Group, PLC          7:21-cv-64244-MCR-GRJ                                             6/6/2022
   286       345667   Elpidio Ulep                        Alexander Law Group, PLC          7:21-cv-64245-MCR-GRJ                                             6/6/2022
   287       345668   Gary Umphress                       Alexander Law Group, PLC          7:21-cv-64246-MCR-GRJ                                             6/6/2022
   288       345669   Jonathan Valentine                  Alexander Law Group, PLC          7:21-cv-64247-MCR-GRJ                                             6/6/2022
   289       345670   Patrick Valenzela                   Alexander Law Group, PLC          7:21-cv-64248-MCR-GRJ                                             6/6/2022
   290       345671   Karl Valine                         Alexander Law Group, PLC          7:21-cv-64249-MCR-GRJ                                             6/6/2022
   291       345672   Richard Valone                      Alexander Law Group, PLC          7:21-cv-64250-MCR-GRJ                                             6/6/2022
   292       345673   Christopher Varlaro                 Alexander Law Group, PLC          7:21-cv-64251-MCR-GRJ                                             6/6/2022
   293       345675   Lorenzo Velasquez                   Alexander Law Group, PLC          7:21-cv-64253-MCR-GRJ                                             6/6/2022
   294       345676   Ronald Velez                        Alexander Law Group, PLC          7:21-cv-64254-MCR-GRJ                                             6/6/2022
   295       345677   Brian Velez                         Alexander Law Group, PLC          7:21-cv-64255-MCR-GRJ                                             6/6/2022
   296       345680   Mason Versage                       Alexander Law Group, PLC          7:21-cv-64258-MCR-GRJ                                             6/6/2022
   297       345683   James Villeponteaux                 Alexander Law Group, PLC          7:21-cv-64261-MCR-GRJ                                             6/6/2022
   298       345684   Thomas Walker                       Alexander Law Group, PLC          7:21-cv-64262-MCR-GRJ                                             6/6/2022
   299       345685   Sean Walling                        Alexander Law Group, PLC          7:21-cv-64263-MCR-GRJ                                             6/6/2022
   300       345687   Jeffrey Walters                     Alexander Law Group, PLC          7:21-cv-64265-MCR-GRJ                                             6/6/2022




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                                                                                                                                                      Deadline to Submit Census Form to
   Row        PID                          Name                                     Firm       Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                  Defendants

   301       345688   Lawrence Wedekind                   Alexander Law Group, PLC              7:21-cv-64266-MCR-GRJ                                             6/6/2022
   302       345689   Paul Weidensaul                     Alexander Law Group, PLC              7:21-cv-64267-MCR-GRJ                                             6/6/2022
   303       345690   Robert Weldon                       Alexander Law Group, PLC              7:21-cv-64268-MCR-GRJ                                             6/6/2022
   304       345691   Steven Werley                       Alexander Law Group, PLC              7:21-cv-64269-MCR-GRJ                                             6/6/2022
   305       345692   Michael West                        Alexander Law Group, PLC              7:21-cv-64270-MCR-GRJ                                             6/6/2022
   306       345693   Eric West                           Alexander Law Group, PLC              7:21-cv-64271-MCR-GRJ                                             6/6/2022
   307       345694   Brian Westfall                      Alexander Law Group, PLC              7:21-cv-64272-MCR-GRJ                                             6/6/2022
   308       345695   Tommy Whisenant                     Alexander Law Group, PLC              7:21-cv-64273-MCR-GRJ                                             6/6/2022
   309       345696   Jason White-Perry                   Alexander Law Group, PLC              7:21-cv-64274-MCR-GRJ                                             6/6/2022
   310       345698   Kyle Williams                       Alexander Law Group, PLC              7:21-cv-64276-MCR-GRJ                                             6/6/2022
   311       345699   Zeb Williams                        Alexander Law Group, PLC              7:21-cv-64277-MCR-GRJ                                             6/6/2022
   312       345700   John Williams                       Alexander Law Group, PLC              7:21-cv-64278-MCR-GRJ                                             6/6/2022
   313       345701   Andrea Williams                     Alexander Law Group, PLC              7:21-cv-64279-MCR-GRJ                                             6/6/2022
   314       345702   Clinton Willis                      Alexander Law Group, PLC                                         7:21-cv-64280-MCR-GRJ                  6/6/2022
   315       345703   Oisin Willis                        Alexander Law Group, PLC              7:21-cv-64281-MCR-GRJ                                             6/6/2022
   316       345705   Joshua Wilson                       Alexander Law Group, PLC              7:21-cv-64283-MCR-GRJ                                             6/6/2022
   317       345706   Stephen Wilson                      Alexander Law Group, PLC              7:21-cv-64284-MCR-GRJ                                             6/6/2022
   318       345707   Sean Wolff                          Alexander Law Group, PLC              7:21-cv-64285-MCR-GRJ                                             6/6/2022
   319       345708   Ross Wright                         Alexander Law Group, PLC              7:21-cv-64286-MCR-GRJ                                             6/6/2022
   320       345709   Roy Wright                          Alexander Law Group, PLC              7:21-cv-64287-MCR-GRJ                                             6/6/2022
   321       345710   Timothy Wright                      Alexander Law Group, PLC              7:21-cv-64288-MCR-GRJ                                             6/6/2022
   322       345711   Lauren Wright                       Alexander Law Group, PLC              7:21-cv-64289-MCR-GRJ                                             6/6/2022
   323       345712   Monte Wright                        Alexander Law Group, PLC              7:21-cv-64290-MCR-GRJ                                             6/6/2022
   324       345715   Xiao Xia                            Alexander Law Group, PLC              7:21-cv-64293-MCR-GRJ                                             6/6/2022
   325       345718   Jorge Yanez                         Alexander Law Group, PLC              7:21-cv-64296-MCR-GRJ                                             6/6/2022
   326       345719   Jeremiah Yates                      Alexander Law Group, PLC              7:21-cv-64297-MCR-GRJ                                             6/6/2022
   327       345720   Arnold Yee                          Alexander Law Group, PLC              7:21-cv-64298-MCR-GRJ                                             6/6/2022
   328       345721   Wu Yonghui                          Alexander Law Group, PLC              7:21-cv-64299-MCR-GRJ                                             6/6/2022
   329       345722   Robert Young                        Alexander Law Group, PLC              7:21-cv-64300-MCR-GRJ                                             6/6/2022
   330       348860   Carlos Julia                        Alexander Law Group, PLC              7:21-cv-63440-MCR-GRJ                                             6/6/2022
   331       348881   James Fuller                        Alexander Law Group, PLC              7:21-cv-65737-MCR-GRJ                                             6/6/2022
   332       348882   Precious Galloway                   Alexander Law Group, PLC              7:21-cv-65728-MCR-GRJ                                             6/6/2022
   333       348883   Oscar Gonzalez                      Alexander Law Group, PLC              7:21-cv-65731-MCR-GRJ                                             6/6/2022
   334       348886   Leon Latour                         Alexander Law Group, PLC                                         7:21-cv-65722-MCR-GRJ                  6/6/2022
   335       348887   Ahmed Mohammed                      Alexander Law Group, PLC              7:21-cv-65716-MCR-GRJ                                             6/6/2022
   336       348888   Chiconne Morris                     Alexander Law Group, PLC              7:21-cv-65714-MCR-GRJ                                             6/6/2022
   337       348890   Justin Owens                        Alexander Law Group, PLC              7:21-cv-65720-MCR-GRJ                                             6/6/2022
   338       348891   Michael Quinn                       Alexander Law Group, PLC              7:21-cv-65739-MCR-GRJ                                             6/6/2022
   339       348892   Carl Sublett                        Alexander Law Group, PLC              7:21-cv-65769-MCR-GRJ                                             6/6/2022
   340       348893   Travis Whitmeyer                    Alexander Law Group, PLC              7:21-cv-65773-MCR-GRJ                                             6/6/2022
   341       331864   Michael Dammto                      Bertram & Graf, L.L.C.                7:21-cv-49633-MCR-GRJ                                             6/6/2022
   342       331867   Albert Dinkel                       Bertram & Graf, L.L.C.                7:21-cv-49636-MCR-GRJ                                             6/6/2022
   343       331875   Jeff Flynn                          Bertram & Graf, L.L.C.                7:21-cv-49644-MCR-GRJ                                             6/6/2022
   344       331896   Rhonda Johnson                      Bertram & Graf, L.L.C.                7:21-cv-49665-MCR-GRJ                                             6/6/2022
   345       331899   Mark Keller                         Bertram & Graf, L.L.C.                7:21-cv-49668-MCR-GRJ                                             6/6/2022
   346       331906   Christopher Labier                  Bertram & Graf, L.L.C.                7:21-cv-49675-MCR-GRJ                                             6/6/2022
   347       331918   Brandon Mcnutt                      Bertram & Graf, L.L.C.                7:21-cv-49687-MCR-GRJ                                             6/6/2022
   348       331919   Jamie Mcwilliams                    Bertram & Graf, L.L.C.                7:21-cv-49688-MCR-GRJ                                             6/6/2022
   349       331922   Richard Morris                      Bertram & Graf, L.L.C.                7:21-cv-49691-MCR-GRJ                                             6/6/2022
   350       331924   Austin Niggemeier                   Bertram & Graf, L.L.C.                7:21-cv-49693-MCR-GRJ                                             6/6/2022
   351       331925   Gloria Nowacki                      Bertram & Graf, L.L.C.                7:21-cv-49694-MCR-GRJ                                             6/6/2022
   352       331926   Kent Odonley                        Bertram & Graf, L.L.C.                7:21-cv-49695-MCR-GRJ                                             6/6/2022
   353       331937   Alberto Ramos                       Bertram & Graf, L.L.C.                7:21-cv-49710-MCR-GRJ                                             6/6/2022
   354       331943   Danial Roseman                      Bertram & Graf, L.L.C.                7:21-cv-49723-MCR-GRJ                                             6/6/2022
   355       331945   Thomas Samano                       Bertram & Graf, L.L.C.                7:21-cv-49727-MCR-GRJ                                             6/6/2022
   356       331950   Terrence Shannon                    Bertram & Graf, L.L.C.                7:21-cv-49738-MCR-GRJ                                             6/6/2022
   357       359634   Christine Leialoha                  Bertram & Graf, L.L.C.                                           3:22-cv-02729-MCR-GRJ                  6/1/2022
   358       360395   Ryan Gamby                          Brent Coon & Associates                                          3:22-cv-04834-MCR-GRJ                  6/30/2022
   359       360400   Xavier Russey                       Brent Coon & Associates                                          3:22-cv-04838-MCR-GRJ                  6/30/2022
   360       360401   Daniel Seely                        Brent Coon & Associates                                          3:22-cv-04841-MCR-GRJ                  6/30/2022
   361       360402   Wesley Sartin                       Brent Coon & Associates                                          3:22-cv-04843-MCR-GRJ                  6/30/2022
   362       360408   Coty Chapel                         Brent Coon & Associates                                          3:22-cv-04845-MCR-GRJ                  6/30/2022
   363       360409   Jamel Blount                        Brent Coon & Associates                                          3:22-cv-04874-MCR-GRJ                  7/5/2022
   364       360410   Bobby Cunningham                    Brent Coon & Associates                                          3:22-cv-04875-MCR-GRJ                  7/5/2022
   365       360879   Jeremy Bolton                       Brent Coon & Associates                                          3:22-cv-04879-MCR-GRJ                  7/5/2022
   366       360880   Mason Benfield                      Brent Coon & Associates                                          3:22-cv-04881-MCR-GRJ                  7/5/2022
   367       360881   Kelly Abbott                        Brent Coon & Associates                                          3:22-cv-04882-MCR-GRJ                  7/5/2022
   368       360882   Rodriquez Coley                     Brent Coon & Associates                                          3:22-cv-04832-MCR-GRJ                  6/30/2022
   369       360883   Anna Goynes                         Brent Coon & Associates                                          3:22-cv-04877-MCR-GRJ                  7/5/2022
   370       361101   Christopher Belts                   Brent Coon & Associates                                          3:22-cv-04847-MCR-GRJ                  6/30/2022
   371       361103   Anthony Bowser                      Brent Coon & Associates                                          3:22-cv-04848-MCR-GRJ                  6/30/2022
   372       361106   Ramon Deleon                        Brent Coon & Associates                                          3:22-cv-04849-MCR-GRJ                  6/30/2022
   373       330125   Adam Walters                        Colson Hicks Eidson                                              7:21-cv-43523-MCR-GRJ                  6/6/2022
   374       332092   Spencer Ettleman                    Colson Hicks Eidson                                              7:21-cv-48431-MCR-GRJ                  6/6/2022
   375       332606   Cristoval Carlos                    Colson Hicks Eidson                                              7:21-cv-48454-MCR-GRJ                  6/6/2022




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                                                                                                                                                         Deadline to Submit Census Form to
   Row        PID                            Name                                 Firm            Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                     Defendants

   376       332608   Adam Johnson                        Colson Hicks Eidson                      7:21-cv-48456-MCR-GRJ                                             6/6/2022
   377       332691   Dalton Scharbert                    Colson Hicks Eidson                                                 7:21-cv-48498-MCR-GRJ                  6/6/2022
   378       332710   Latricia Scott                      Colson Hicks Eidson                                                 7:21-cv-48525-MCR-GRJ                  6/6/2022
   379       332824   Shamane Howe                        Colson Hicks Eidson                      7:21-cv-48590-MCR-GRJ                                             6/6/2022
   380       335141   Brandon Khardian                    Environmental Litigation Group PC        7:21-cv-53609-MCR-GRJ                                             6/6/2022
   381       335189   Silvio Diaz                         Environmental Litigation Group PC        7:21-cv-53706-MCR-GRJ                                             6/6/2022
   382       335200   Timothy Hoffer                      Environmental Litigation Group PC        7:21-cv-53729-MCR-GRJ                                             6/6/2022
   383       335226   Stephen Lacey                       Environmental Litigation Group PC        7:21-cv-53783-MCR-GRJ                                             6/6/2022
   384       335227   Rodney Reed                         Environmental Litigation Group PC        7:21-cv-53785-MCR-GRJ                                             6/6/2022
   385       335232   Monique Joiner                      Environmental Litigation Group PC        7:21-cv-53796-MCR-GRJ                                             6/6/2022
   386       335238   William Anderson                    Environmental Litigation Group PC        7:21-cv-53809-MCR-GRJ                                             6/6/2022
   387       335243   Darren Gamayo                       Environmental Litigation Group PC        7:21-cv-53820-MCR-GRJ                                             6/6/2022
   388       335244   Chiquita Massey                     Environmental Litigation Group PC        7:21-cv-53822-MCR-GRJ                                             6/6/2022
   389       335245   Richard Hylton                      Environmental Litigation Group PC        7:21-cv-53824-MCR-GRJ                                             6/6/2022
   390       335250   Bradford Glau                       Environmental Litigation Group PC        7:21-cv-53835-MCR-GRJ                                             6/6/2022
   391       335251   Robert Hatcher                      Environmental Litigation Group PC        7:21-cv-53837-MCR-GRJ                                             6/6/2022
   392       335253   Ricardo Alanis                      Environmental Litigation Group PC        7:21-cv-53842-MCR-GRJ                                             6/6/2022
   393       335259   Sid Real                            Environmental Litigation Group PC        7:21-cv-53854-MCR-GRJ                                             6/6/2022
   394       335261   Christopher Main                    Environmental Litigation Group PC        7:21-cv-53858-MCR-GRJ                                             6/6/2022
   395       335264   Gene Quintana                       Environmental Litigation Group PC        7:21-cv-53865-MCR-GRJ                                             6/6/2022
   396       335268   Zachary Smith                       Environmental Litigation Group PC        7:21-cv-53873-MCR-GRJ                                             6/6/2022
   397       335272   Angela Burch                        Environmental Litigation Group PC        7:21-cv-53882-MCR-GRJ                                             6/6/2022
   398       335277   John Baum                           Environmental Litigation Group PC        7:21-cv-53892-MCR-GRJ                                             6/6/2022
   399       335278   Daniel Sheltrown                    Environmental Litigation Group PC        7:21-cv-53895-MCR-GRJ                                             6/6/2022
   400       335279   Juan Vallejo                        Environmental Litigation Group PC        7:21-cv-53897-MCR-GRJ                                             6/6/2022
   401       335280   Richard Ray                         Environmental Litigation Group PC        7:21-cv-53899-MCR-GRJ                                             6/6/2022
   402       335292   James Waters                        Environmental Litigation Group PC        7:21-cv-53923-MCR-GRJ                                             6/6/2022
   403       335294   James Hines                         Environmental Litigation Group PC        7:21-cv-53925-MCR-GRJ                                             6/6/2022
   404       335296   Joel Rooks                          Environmental Litigation Group PC        7:21-cv-53927-MCR-GRJ                                             6/6/2022
   405       335297   Elissa Hoston                       Environmental Litigation Group PC        7:21-cv-53928-MCR-GRJ                                             6/6/2022
   406       335298   Kenneth Snead                       Environmental Litigation Group PC        7:21-cv-53929-MCR-GRJ                                             6/6/2022
   407       335301   Jonathan Collins                    Environmental Litigation Group PC        7:21-cv-53932-MCR-GRJ                                             6/6/2022
   408       335304   Barry Mahon                         Environmental Litigation Group PC        7:21-cv-53935-MCR-GRJ                                             6/6/2022
   409       335312   Patrick Haymaker                    Environmental Litigation Group PC        7:21-cv-53943-MCR-GRJ                                             6/6/2022
   410       335321   Andrew Walburn                      Environmental Litigation Group PC        7:21-cv-53953-MCR-GRJ                                             6/6/2022
   411       335322   Emily Pena                          Environmental Litigation Group PC        7:21-cv-53954-MCR-GRJ                                             6/6/2022
   412       335323   Brendan Pouliotte                   Environmental Litigation Group PC        7:21-cv-53955-MCR-GRJ                                             6/6/2022
   413       335327   Cowan Bruss                         Environmental Litigation Group PC        7:21-cv-53959-MCR-GRJ                                             6/6/2022
   414       335328   Ricardo Luna                        Environmental Litigation Group PC        7:21-cv-53960-MCR-GRJ                                             6/6/2022
   415       335331   Natalia Kim                         Environmental Litigation Group PC        7:21-cv-53964-MCR-GRJ                                             6/6/2022
   416       335357   Kory Jones                          Environmental Litigation Group PC        7:21-cv-54015-MCR-GRJ                                             6/6/2022
   417       335360   James Parker                        Environmental Litigation Group PC        7:21-cv-54022-MCR-GRJ                                             6/6/2022
   418       335371   Justin Benson                       Environmental Litigation Group PC        7:21-cv-54044-MCR-GRJ                                             6/6/2022
   419       335379   Devin Edwards                       Environmental Litigation Group PC        7:21-cv-54060-MCR-GRJ                                             6/6/2022
   420       335402   Prince Summers                      Environmental Litigation Group PC        7:21-cv-54107-MCR-GRJ                                             6/6/2022
   421       335405   Thomas Peterson                     Environmental Litigation Group PC        7:21-cv-54113-MCR-GRJ                                             6/6/2022
   422       335406   Robert Frazier                      Environmental Litigation Group PC        7:21-cv-54115-MCR-GRJ                                             6/6/2022
   423       335410   John Nardone                        Environmental Litigation Group PC        7:21-cv-54121-MCR-GRJ                                             6/6/2022
   424       335412   Dianna Vo                           Environmental Litigation Group PC        7:21-cv-54125-MCR-GRJ                                             6/6/2022
   425       335414   Derrick Parker                      Environmental Litigation Group PC        7:21-cv-54129-MCR-GRJ                                             6/6/2022
   426       335418   Jared Dawson                        Environmental Litigation Group PC        7:21-cv-54137-MCR-GRJ                                             6/6/2022
   427       335425   Benjamin Harp                       Environmental Litigation Group PC        7:21-cv-54151-MCR-GRJ                                             6/6/2022
   428       335429   Mendy Miller                        Environmental Litigation Group PC        7:21-cv-54159-MCR-GRJ                                             6/6/2022
   429       335434   Sylvester Bloomfield                Environmental Litigation Group PC        7:21-cv-54169-MCR-GRJ                                             6/6/2022
   430       335437   Rafael Ilarraza                     Environmental Litigation Group PC        7:21-cv-54175-MCR-GRJ                                             6/6/2022
   431       335447   Joel Josiah                         Environmental Litigation Group PC        7:21-cv-54196-MCR-GRJ                                             6/6/2022
   432       335457   Louis Madison                       Environmental Litigation Group PC        7:21-cv-54215-MCR-GRJ                                             6/6/2022
   433       335460   Ryan Cunningham                     Environmental Litigation Group PC        7:21-cv-54221-MCR-GRJ                                             6/6/2022
   434       335464   Erik Brodin                         Environmental Litigation Group PC        7:21-cv-54230-MCR-GRJ                                             6/6/2022
   435       335468   Bruce Hollon                        Environmental Litigation Group PC        7:21-cv-54238-MCR-GRJ                                             6/6/2022
   436       335470   Clifton Sessions                    Environmental Litigation Group PC        7:21-cv-54242-MCR-GRJ                                             6/6/2022
   437       335472   Chad Ord                            Environmental Litigation Group PC        7:21-cv-54246-MCR-GRJ                                             6/6/2022
   438       335474   Brandon Turner                      Environmental Litigation Group PC        7:21-cv-54250-MCR-GRJ                                             6/6/2022
   439       335483   Jason Parmley                       Environmental Litigation Group PC        7:21-cv-54269-MCR-GRJ                                             6/6/2022
   440       335484   David Williams                      Environmental Litigation Group PC        7:21-cv-54271-MCR-GRJ                                             6/6/2022
   441       335501   Nathaniel Mayfield                  Environmental Litigation Group PC        7:21-cv-54447-MCR-GRJ                                             6/6/2022
   442       335503   Anthony Shiepko                     Environmental Litigation Group PC        7:21-cv-54449-MCR-GRJ                                             6/6/2022
   443       335506   Jeremy Dees                         Environmental Litigation Group PC        7:21-cv-54452-MCR-GRJ                                             6/6/2022
   444       335507   Gus Rodriguez                       Environmental Litigation Group PC        7:21-cv-54453-MCR-GRJ                                             6/6/2022
   445       335508   Drew Dearden                        Environmental Litigation Group PC        7:21-cv-54454-MCR-GRJ                                             6/6/2022
   446       335511   Andrew Ford                         Environmental Litigation Group PC        7:21-cv-54457-MCR-GRJ                                             6/6/2022
   447       335518   David Peal                          Environmental Litigation Group PC        7:21-cv-54464-MCR-GRJ                                             6/6/2022
   448       335524   Steven Pena                         Environmental Litigation Group PC        7:21-cv-54470-MCR-GRJ                                             6/6/2022
   449       335537   William Mask                        Environmental Litigation Group PC        7:21-cv-54483-MCR-GRJ                                             6/6/2022
   450       335540   Patrick Richard                     Environmental Litigation Group PC        7:21-cv-54486-MCR-GRJ                                             6/6/2022




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                                                                                                                                                         Deadline to Submit Census Form to
   Row        PID                           Name                                  Firm            Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                     Defendants

   451       335542   William Little                      Environmental Litigation Group PC        7:21-cv-54488-MCR-GRJ                                             6/6/2022
   452       335555   Howard Ellison                      Environmental Litigation Group PC        7:21-cv-54501-MCR-GRJ                                             6/6/2022
   453       335564   Dean Mccown                         Environmental Litigation Group PC        7:21-cv-54510-MCR-GRJ                                             6/6/2022
   454       335576   Hayder Jabar                        Environmental Litigation Group PC        7:21-cv-54522-MCR-GRJ                                             6/6/2022
   455       335593   Joshua Jenson                       Environmental Litigation Group PC        7:21-cv-54539-MCR-GRJ                                             6/6/2022
   456       335600   Gary Parsons                        Environmental Litigation Group PC        7:21-cv-54546-MCR-GRJ                                             6/6/2022
   457       335610   Matthew Barnes                      Environmental Litigation Group PC        7:21-cv-54556-MCR-GRJ                                             6/6/2022
   458       335611   Michael Albertson                   Environmental Litigation Group PC        7:21-cv-54557-MCR-GRJ                                             6/6/2022
   459       335616   Khadijah Sellers                    Environmental Litigation Group PC        7:21-cv-54562-MCR-GRJ                                             6/6/2022
   460       335617   Aaron Gerenday                      Environmental Litigation Group PC        7:21-cv-54563-MCR-GRJ                                             6/6/2022
   461       335621   Michael Finkelstein                 Environmental Litigation Group PC        7:21-cv-54567-MCR-GRJ                                             6/6/2022
   462       335625   Hal Adams                           Environmental Litigation Group PC        7:21-cv-54571-MCR-GRJ                                             6/6/2022
   463       335635   Tyler Fortin                        Environmental Litigation Group PC        7:21-cv-54581-MCR-GRJ                                             6/6/2022
   464       335648   Emily Meier                         Environmental Litigation Group PC        7:21-cv-54594-MCR-GRJ                                             6/6/2022
   465       335654   Andrew Lopez                        Environmental Litigation Group PC        7:21-cv-54600-MCR-GRJ                                             6/6/2022
   466       335659   Tristan Renae                       Environmental Litigation Group PC        7:21-cv-54605-MCR-GRJ                                             6/6/2022
   467       335666   Lucas Dennision                     Environmental Litigation Group PC        7:21-cv-54612-MCR-GRJ                                             6/6/2022
   468       335667   Kevin Stewart                       Environmental Litigation Group PC        7:21-cv-54613-MCR-GRJ                                             6/6/2022
   469       335668   Shawn Wright                        Environmental Litigation Group PC        7:21-cv-54614-MCR-GRJ                                             6/6/2022
   470       335671   Dale Greene                         Environmental Litigation Group PC        7:21-cv-54617-MCR-GRJ                                             6/6/2022
   471       335673   Wendell Toliver                     Environmental Litigation Group PC        7:21-cv-54619-MCR-GRJ                                             6/6/2022
   472       335677   Shane Mcmackin                      Environmental Litigation Group PC        7:21-cv-54623-MCR-GRJ                                             6/6/2022
   473       335689   Jin-Hyoung Kim                      Environmental Litigation Group PC        7:21-cv-54635-MCR-GRJ                                             6/6/2022
   474       335691   Joshua Millar                       Environmental Litigation Group PC        7:21-cv-54637-MCR-GRJ                                             6/6/2022
   475       335695   Darrell Shoemake                    Environmental Litigation Group PC        7:21-cv-54641-MCR-GRJ                                             6/6/2022
   476       335696   Wesley Settles                      Environmental Litigation Group PC        7:21-cv-54642-MCR-GRJ                                             6/6/2022
   477       335697   Matthew Meyer                       Environmental Litigation Group PC        7:21-cv-54643-MCR-GRJ                                             6/6/2022
   478       335706   Anthony Magnan                      Environmental Litigation Group PC        7:21-cv-54652-MCR-GRJ                                             6/6/2022
   479       335709   Chong Kim                           Environmental Litigation Group PC        7:21-cv-54655-MCR-GRJ                                             6/6/2022
   480       335711   John Oliveira                       Environmental Litigation Group PC        7:21-cv-54657-MCR-GRJ                                             6/6/2022
   481       335713   Phillip Fife                        Environmental Litigation Group PC        7:21-cv-54659-MCR-GRJ                                             6/6/2022
   482       335715   Steven Hearn                        Environmental Litigation Group PC        7:21-cv-54661-MCR-GRJ                                             6/6/2022
   483       335718   Keith Jones                         Environmental Litigation Group PC        7:21-cv-54664-MCR-GRJ                                             6/6/2022
   484       335721   Fide Martinez                       Environmental Litigation Group PC        7:21-cv-54667-MCR-GRJ                                             6/6/2022
   485       335741   Clinton Rhodes                      Environmental Litigation Group PC        7:21-cv-54687-MCR-GRJ                                             6/6/2022
   486       335745   Eric Grogg                          Environmental Litigation Group PC        7:21-cv-55015-MCR-GRJ                                             6/6/2022
   487       335750   James Grim                          Environmental Litigation Group PC        7:21-cv-55020-MCR-GRJ                                             6/6/2022
   488       335756   Randy Rosholt                       Environmental Litigation Group PC        7:21-cv-55026-MCR-GRJ                                             6/6/2022
   489       335759   Adam Davis                          Environmental Litigation Group PC        7:21-cv-55029-MCR-GRJ                                             6/6/2022
   490       335763   Christopher Gibson                  Environmental Litigation Group PC        7:21-cv-55033-MCR-GRJ                                             6/6/2022
   491       335776   Willie Jones                        Environmental Litigation Group PC        7:21-cv-55046-MCR-GRJ                                             6/6/2022
   492       335779   Perry Bonsant                       Environmental Litigation Group PC        7:21-cv-55049-MCR-GRJ                                             6/6/2022
   493       335783   Harry Donaldson                     Environmental Litigation Group PC        7:21-cv-55053-MCR-GRJ                                             6/6/2022
   494       335796   Kimberly Hayes                      Environmental Litigation Group PC        7:21-cv-55066-MCR-GRJ                                             6/6/2022
   495       335798   Ricky Tucker                        Environmental Litigation Group PC        7:21-cv-55068-MCR-GRJ                                             6/6/2022
   496       335805   Victor Polanco                      Environmental Litigation Group PC        7:21-cv-55075-MCR-GRJ                                             6/6/2022
   497       335807   Brian Sievers                       Environmental Litigation Group PC        7:21-cv-55077-MCR-GRJ                                             6/6/2022
   498       335816   Christopher Bomar                   Environmental Litigation Group PC        7:21-cv-55086-MCR-GRJ                                             6/6/2022
   499       335817   Joseph Mckenzie                     Environmental Litigation Group PC        7:21-cv-55087-MCR-GRJ                                             6/6/2022
   500       335821   Kevin Elder                         Environmental Litigation Group PC        7:21-cv-55174-MCR-GRJ                                             6/6/2022
   501       335824   Michael O'Connell                   Environmental Litigation Group PC        7:21-cv-55180-MCR-GRJ                                             6/6/2022
   502       335825   Rufus Veal                          Environmental Litigation Group PC        7:21-cv-55182-MCR-GRJ                                             6/6/2022
   503       335827   Thomas Rucker                       Environmental Litigation Group PC        7:21-cv-55185-MCR-GRJ                                             6/6/2022
   504       335836   Javier Benavides                    Environmental Litigation Group PC        7:21-cv-55202-MCR-GRJ                                             6/6/2022
   505       335841   Shannon Holiday                     Environmental Litigation Group PC        7:21-cv-55211-MCR-GRJ                                             6/6/2022
   506       335846   Zachary Schuster                    Environmental Litigation Group PC        7:21-cv-55220-MCR-GRJ                                             6/6/2022
   507       335857   Ashley Todd                         Environmental Litigation Group PC        7:21-cv-55240-MCR-GRJ                                             6/6/2022
   508       335859   James Brandon                       Environmental Litigation Group PC        7:21-cv-55244-MCR-GRJ                                             6/6/2022
   509       335861   Raymond Moreno                      Environmental Litigation Group PC        7:21-cv-55248-MCR-GRJ                                             6/6/2022
   510       335871   Nicholas Hamilton                   Environmental Litigation Group PC        7:21-cv-55266-MCR-GRJ                                             6/6/2022
   511       335875   Said Banna                          Environmental Litigation Group PC        7:21-cv-55273-MCR-GRJ                                             6/6/2022
   512       335887   Pattie Lowe                         Environmental Litigation Group PC        7:21-cv-55298-MCR-GRJ                                             6/6/2022
   513       335894   Hannah Warner                       Environmental Litigation Group PC        7:21-cv-55313-MCR-GRJ                                             6/6/2022
   514       335908   John Portillo                       Environmental Litigation Group PC        7:21-cv-55339-MCR-GRJ                                             6/6/2022
   515       335917   Tyler Gephart                       Environmental Litigation Group PC        7:21-cv-55355-MCR-GRJ                                             6/6/2022
   516       335919   Derick Zemke                        Environmental Litigation Group PC        7:21-cv-55359-MCR-GRJ                                             6/6/2022
   517       335920   Jerin Haas                          Environmental Litigation Group PC        7:21-cv-55361-MCR-GRJ                                             6/6/2022
   518       335930   Daniel Cunningham                   Environmental Litigation Group PC        7:21-cv-55379-MCR-GRJ                                             6/6/2022
   519       335931   Sheldon Green                       Environmental Litigation Group PC        7:21-cv-55381-MCR-GRJ                                             6/6/2022
   520       335935   Jason Cleghorn                      Environmental Litigation Group PC        7:21-cv-55388-MCR-GRJ                                             6/6/2022
   521       335940   Terry Carroll                       Environmental Litigation Group PC        7:21-cv-55397-MCR-GRJ                                             6/6/2022
   522       335947   Matthew Bear                        Environmental Litigation Group PC        7:21-cv-55410-MCR-GRJ                                             6/6/2022
   523       335948   Shameika Armstead                   Environmental Litigation Group PC        7:21-cv-55412-MCR-GRJ                                             6/6/2022
   524       335962   Centrail Byrd                       Environmental Litigation Group PC        7:21-cv-55438-MCR-GRJ                                             6/6/2022
   525       335972   Corey Blackman                      Environmental Litigation Group PC        7:21-cv-55457-MCR-GRJ                                             6/6/2022




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                                                                                                                                                         Deadline to Submit Census Form to
   Row        PID                         Name                                    Firm            Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                     Defendants

   526       335975   Douglas Howington                   Environmental Litigation Group PC        7:21-cv-55462-MCR-GRJ                                             6/6/2022
   527       335981   Walter Warr                         Environmental Litigation Group PC        7:21-cv-55474-MCR-GRJ                                             6/6/2022
   528       335983   Mark Clemons                        Environmental Litigation Group PC        7:21-cv-55479-MCR-GRJ                                             6/6/2022
   529       335989   Tremayne Glover                     Environmental Litigation Group PC        7:21-cv-55492-MCR-GRJ                                             6/6/2022
   530       335992   Michael Jones                       Environmental Litigation Group PC        7:21-cv-55497-MCR-GRJ                                             6/6/2022
   531       335994   Mitchell Gleason                    Environmental Litigation Group PC        7:21-cv-55501-MCR-GRJ                                             6/6/2022
   532       335997   Dustin Sawmiller                    Environmental Litigation Group PC        7:21-cv-55507-MCR-GRJ                                             6/6/2022
   533       335998   Bobby Hughes                        Environmental Litigation Group PC        7:21-cv-55509-MCR-GRJ                                             6/6/2022
   534       336001   David Pollard                       Environmental Litigation Group PC        7:21-cv-55514-MCR-GRJ                                             6/6/2022
   535       336007   Han Kim                             Environmental Litigation Group PC        7:21-cv-55525-MCR-GRJ                                             6/6/2022
   536       336008   Chadwick Johnson                    Environmental Litigation Group PC        7:21-cv-55527-MCR-GRJ                                             6/6/2022
   537       336009   Paul Mcallister                     Environmental Litigation Group PC        7:21-cv-55528-MCR-GRJ                                             6/6/2022
   538       336016   Johnny Herbert                      Environmental Litigation Group PC        7:21-cv-55541-MCR-GRJ                                             6/6/2022
   539       336017   Thomas Griffin                      Environmental Litigation Group PC        7:21-cv-55543-MCR-GRJ                                             6/6/2022
   540       336019   Jonathan Nall                       Environmental Litigation Group PC        7:21-cv-55547-MCR-GRJ                                             6/6/2022
   541       336028   Louis Wilkerson                     Environmental Litigation Group PC        7:21-cv-55563-MCR-GRJ                                             6/6/2022
   542       336029   Matthew Foster                      Environmental Litigation Group PC        7:21-cv-55565-MCR-GRJ                                             6/6/2022
   543       336034   Dewey Conley                        Environmental Litigation Group PC        7:21-cv-55574-MCR-GRJ                                             6/6/2022
   544       336039   Alex Potter                         Environmental Litigation Group PC        7:21-cv-55583-MCR-GRJ                                             6/6/2022
   545       336042   Argustus Fox                        Environmental Litigation Group PC        7:21-cv-55588-MCR-GRJ                                             6/6/2022
   546       336044   James Brickey                       Environmental Litigation Group PC        7:21-cv-55590-MCR-GRJ                                             6/6/2022
   547       336047   Raymond Goodness                    Environmental Litigation Group PC        7:21-cv-55593-MCR-GRJ                                             6/6/2022
   548       336050   Luis Duran                          Environmental Litigation Group PC        7:21-cv-55596-MCR-GRJ                                             6/6/2022
   549       336052   Samuel Brenden                      Environmental Litigation Group PC        7:21-cv-55598-MCR-GRJ                                             6/6/2022
   550       336053   Evan Smith                          Environmental Litigation Group PC        7:21-cv-55599-MCR-GRJ                                             6/6/2022
   551       336070   Taneshia Wyman                      Environmental Litigation Group PC        7:21-cv-55616-MCR-GRJ                                             6/6/2022
   552       336071   Timothy Long                        Environmental Litigation Group PC                                   7:21-cv-55617-MCR-GRJ                  5/11/2022
   553       336076   Marcus Harris                       Environmental Litigation Group PC        7:21-cv-55622-MCR-GRJ                                             6/6/2022
   554       336078   Tiffiney Wilson                     Environmental Litigation Group PC        7:21-cv-55624-MCR-GRJ                                             6/6/2022
   555       336088   Andrew Brown                        Environmental Litigation Group PC        7:21-cv-55634-MCR-GRJ                                             6/6/2022
   556       336090   Eric Clemons                        Environmental Litigation Group PC        7:21-cv-55636-MCR-GRJ                                             6/6/2022
   557       336091   Richard Stoddard                    Environmental Litigation Group PC        7:21-cv-55637-MCR-GRJ                                             6/6/2022
   558       336096   Douglas Gingerich                   Environmental Litigation Group PC        7:21-cv-55642-MCR-GRJ                                             6/6/2022
   559       336102   Zachary Ford                        Environmental Litigation Group PC        7:21-cv-55648-MCR-GRJ                                             6/6/2022
   560       336115   Lon Jett                            Environmental Litigation Group PC        7:21-cv-55661-MCR-GRJ                                             6/6/2022
   561       336129   Jason Wells                         Environmental Litigation Group PC        7:21-cv-55675-MCR-GRJ                                             6/6/2022
   562       336130   Daniel Braman                       Environmental Litigation Group PC        7:21-cv-55676-MCR-GRJ                                             6/6/2022
   563       331206   Terane Thorpe                       Forman Law Offices                       7:21-cv-48228-MCR-GRJ                                             6/6/2022
   564       331461   Orlando Ford                        Forman Law Offices                       7:21-cv-48300-MCR-GRJ                                             6/6/2022
   565       331478   Tony Gunion                         Forman Law Offices                       7:21-cv-48317-MCR-GRJ                                             6/6/2022
   566       331992   Kevin Gates                         Forman Law Offices                       7:21-cv-48383-MCR-GRJ                                             6/6/2022
   567       331998   Shannon Goss                        Forman Law Offices                       7:21-cv-48389-MCR-GRJ                                             6/6/2022
   568       332635   Thomas Lindsey                      Forman Law Offices                       7:21-cv-48462-MCR-GRJ                                             6/6/2022
   569       332637   Aaron Maxim                         Forman Law Offices                       7:21-cv-48464-MCR-GRJ                                             6/6/2022
   570       332647   Michael Stroup                      Forman Law Offices                       7:21-cv-48474-MCR-GRJ                                             6/6/2022
   571       332648   Austin Townes                       Forman Law Offices                       7:21-cv-48475-MCR-GRJ                                             6/6/2022
   572       332650   Mary Hightower                      Forman Law Offices                       7:21-cv-51187-MCR-GRJ                                             6/6/2022
   573       332652   Narin Thong                         Forman Law Offices                       7:21-cv-51189-MCR-GRJ                                             6/6/2022
   574       332725   Jesse Beck                          Forman Law Offices                       7:21-cv-48537-MCR-GRJ                                             6/6/2022
   575       332802   Charles Johnson                     Forman Law Offices                       7:21-cv-48580-MCR-GRJ                                             6/6/2022
   576       332831   Schmara Singley                     Forman Law Offices                       7:21-cv-53859-MCR-GRJ                                             6/6/2022
   577       332836   John Ritchie                        Forman Law Offices                       7:21-cv-53861-MCR-GRJ                                             6/6/2022
   578       334206   Justin Lockett                      Forman Law Offices                       7:21-cv-54294-MCR-GRJ                                             6/6/2022
   579       334211   James Schmitt                       Forman Law Offices                       7:21-cv-54299-MCR-GRJ                                             6/6/2022
   580       334235   Norman Escobar                      Forman Law Offices                       7:21-cv-54308-MCR-GRJ                                             6/6/2022
   581       334311   James Fansher                       Forman Law Offices                       7:21-cv-48639-MCR-GRJ                                             6/6/2022
   582       334317   David Hoffman                       Forman Law Offices                       7:21-cv-54335-MCR-GRJ                                             6/6/2022
   583       334323   Kaitlyn Kasper                      Forman Law Offices                       7:21-cv-54337-MCR-GRJ                                             6/6/2022
   584       334337   Deric Knight                        Forman Law Offices                       7:21-cv-54338-MCR-GRJ                                             6/6/2022
   585       334345   Alexis Perez                        Forman Law Offices                       7:21-cv-54343-MCR-GRJ                                             6/6/2022
   586       334350   Joseph Denny                        Forman Law Offices                       7:21-cv-48646-MCR-GRJ                                             6/6/2022
   587       334381   Bryan Moton                         Forman Law Offices                       7:21-cv-54350-MCR-GRJ                                             6/6/2022
   588       334384   William Smith                       Forman Law Offices                       7:21-cv-54353-MCR-GRJ                                             6/6/2022
   589       334450   Jacob Welling                       Forman Law Offices                       7:21-cv-54356-MCR-GRJ                                             6/6/2022
   590       334477   Edgar Ayala                         Forman Law Offices                       7:21-cv-54361-MCR-GRJ                                             6/6/2022
   591       334645   Matthew Wynne                       Forman Law Offices                       7:21-cv-54380-MCR-GRJ                                             6/6/2022
   592       336248   Harry Marshall                      Forman Law Offices                       7:21-cv-54409-MCR-GRJ                                             6/6/2022
   593       336362   Bobby Starr                         Forman Law Offices                       7:21-cv-54411-MCR-GRJ                                             6/6/2022
   594       336365   Alyssa Watt                         Forman Law Offices                       7:21-cv-54414-MCR-GRJ                                             6/6/2022
   595       336445   Andre Gibbons                       Forman Law Offices                       7:21-cv-54430-MCR-GRJ                                             6/6/2022
   596       336453   Lavorious Jones                     Forman Law Offices                       7:21-cv-54434-MCR-GRJ                                             6/6/2022
   597       336639   Trevion Malone                      Forman Law Offices                       7:21-cv-56398-MCR-GRJ                                             6/6/2022
   598       344344   Jerrjuan Mills                      Forman Law Offices                       7:21-cv-63344-MCR-GRJ                                             6/6/2022
   599       345873   Omar Sergovia                       Forman Law Offices                       7:21-cv-64449-MCR-GRJ                                             6/6/2022
   600       345875   Cynthia Sherrod                     Forman Law Offices                       7:21-cv-64451-MCR-GRJ                                             6/6/2022




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                                                                                                                                                      Deadline to Submit Census Form to
   Row        PID                             Name                                 Firm        Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                  Defendants

   601       346149   John Flaherty                       Forman Law Offices                    7:21-cv-64600-MCR-GRJ                                             6/6/2022
   602       346164   Keith Savanapridi                   Forman Law Offices                    7:21-cv-64615-MCR-GRJ                                             6/6/2022
   603       357576   Torey Kaiser                        Hair Shunnarah Trial Attorneys                                   3:22-cv-02059-MCR-GRJ                  5/18/2022
   604       357583   Norberto Mora                       Hair Shunnarah Trial Attorneys                                   3:22-cv-02069-MCR-GRJ                  5/19/2022
   605       357594   John Williams                       Hair Shunnarah Trial Attorneys                                   3:22-cv-02095-MCR-GRJ                 5/23/2022
   606       50517    Gustavo Guevara                     Kirkendall Dwyer LLP                  7:20-cv-65153-MCR-GRJ                                             5/9/2022
   607       50608    Alexander Patino                    Kirkendall Dwyer LLP                  7:20-cv-65369-MCR-GRJ                                             5/9/2022
   608       50822    Christopher Carter                  Kirkendall Dwyer LLP                  7:20-cv-65788-MCR-GRJ                                             5/9/2022
   609       50927    Josh Spano                          Kirkendall Dwyer LLP                  7:20-cv-66103-MCR-GRJ                                             5/9/2022
   610       50988    Maurice Oden                        Kirkendall Dwyer LLP                  7:20-cv-66346-MCR-GRJ                                             5/9/2022
   611       51002    Fernando Serrano                    Kirkendall Dwyer LLP                  7:20-cv-66407-MCR-GRJ                                             5/9/2022
   612       51023    Paul Richmond                       Kirkendall Dwyer LLP                  7:20-cv-66487-MCR-GRJ                                             5/9/2022
   613       51028    Gabriel Collins                     Kirkendall Dwyer LLP                  7:20-cv-66505-MCR-GRJ                                             5/9/2022
   614       51032    Andrew Recinos                      Kirkendall Dwyer LLP                  7:20-cv-66519-MCR-GRJ                                             5/9/2022
   615       51053    Cory Swindle                        Kirkendall Dwyer LLP                  7:20-cv-66593-MCR-GRJ                                             5/9/2022
   616       51055    Travis Repp                         Kirkendall Dwyer LLP                  7:20-cv-66600-MCR-GRJ                                             5/9/2022
   617       51080    Alexander Ives                      Kirkendall Dwyer LLP                  7:20-cv-66691-MCR-GRJ                                             5/9/2022
   618       51081    Michael Drouin                      Kirkendall Dwyer LLP                  7:20-cv-66694-MCR-GRJ                                             5/9/2022
   619       51087    Jacob Wales                         Kirkendall Dwyer LLP                  7:20-cv-66711-MCR-GRJ                                             5/9/2022
   620       51098    Daniel Mazzei                       Kirkendall Dwyer LLP                  7:20-cv-66751-MCR-GRJ                                             5/9/2022
   621       51103    Tyler Gural                         Kirkendall Dwyer LLP                  7:20-cv-66771-MCR-GRJ                                             5/9/2022
   622       51106    Chance Polick                       Kirkendall Dwyer LLP                  7:20-cv-66780-MCR-GRJ                                             5/9/2022
   623       51113    Michael Tackett                     Kirkendall Dwyer LLP                  7:20-cv-66801-MCR-GRJ                                             5/9/2022
   624       51117    David Barger                        Kirkendall Dwyer LLP                  7:20-cv-66813-MCR-GRJ                                             5/9/2022
   625       51118    Jeffery Bott                        Kirkendall Dwyer LLP                  7:20-cv-66815-MCR-GRJ                                             5/9/2022
   626       172747   Caleb Jones                         Kirkendall Dwyer LLP                  7:20-cv-88866-MCR-GRJ                                             5/9/2022
   627       230684   Anthony Puglisi                     Kirkendall Dwyer LLP                  8:20-cv-68138-MCR-GRJ                                             5/9/2022
   628       230694   Brent Steel                         Kirkendall Dwyer LLP                  8:20-cv-68157-MCR-GRJ                                             5/9/2022
   629       230713   Christopher Hill                    Kirkendall Dwyer LLP                  8:20-cv-68199-MCR-GRJ                                             5/9/2022
   630       230726   Dan Doan                            Kirkendall Dwyer LLP                  8:20-cv-68235-MCR-GRJ                                             5/9/2022
   631       230740   David Henault                       Kirkendall Dwyer LLP                  8:20-cv-68282-MCR-GRJ                                             5/9/2022
   632       230780   Fredrick Culbreth                   Kirkendall Dwyer LLP                  8:20-cv-68425-MCR-GRJ                                             5/9/2022
   633       230788   Gregory Niffen                      Kirkendall Dwyer LLP                  8:20-cv-68455-MCR-GRJ                                             5/9/2022
   634       230793   Heriberto Rivera                    Kirkendall Dwyer LLP                  8:20-cv-68472-MCR-GRJ                                             5/9/2022
   635       230796   Ivan Malinis                        Kirkendall Dwyer LLP                  8:20-cv-68483-MCR-GRJ                                             5/9/2022
   636       230811   Jason Williams                      Kirkendall Dwyer LLP                  8:20-cv-68530-MCR-GRJ                                             5/9/2022
   637       230829   Johnson Michael                     Kirkendall Dwyer LLP                  8:20-cv-68580-MCR-GRJ                                             5/9/2022
   638       230843   Joshua Bryson                       Kirkendall Dwyer LLP                  8:20-cv-68619-MCR-GRJ                                             5/9/2022
   639       230855   Kelly Geaslin                       Kirkendall Dwyer LLP                  8:20-cv-68653-MCR-GRJ                                             5/9/2022
   640       230900   Michael Mcdonald                    Kirkendall Dwyer LLP                  8:20-cv-67881-MCR-GRJ                                             5/9/2022
   641       230925   Ramón Troya                         Kirkendall Dwyer LLP                  8:20-cv-68808-MCR-GRJ                                             5/9/2022
   642       230947   Robert White                        Kirkendall Dwyer LLP                  8:20-cv-67984-MCR-GRJ                                             5/9/2022
   643       230968   Sonya Wood                          Kirkendall Dwyer LLP                  8:20-cv-68027-MCR-GRJ                                             5/9/2022
   644       230998   Veronica Vidaurri                   Kirkendall Dwyer LLP                  8:20-cv-68088-MCR-GRJ                                             5/9/2022
   645       231009   William Saunders                    Kirkendall Dwyer LLP                  8:20-cv-68111-MCR-GRJ                                             5/9/2022
   646       237245   Donghyun Kim                        Kirkendall Dwyer LLP                  8:20-cv-82083-MCR-GRJ                                             5/9/2022
   647       237259   Franklin Armstrong                  Kirkendall Dwyer LLP                  8:20-cv-82119-MCR-GRJ                                             5/9/2022
   648       237265   Henry Kutzing                       Kirkendall Dwyer LLP                  8:20-cv-82136-MCR-GRJ                                             5/9/2022
   649       237266   Herman Stanley                      Kirkendall Dwyer LLP                  8:20-cv-82139-MCR-GRJ                                             5/9/2022
   650       237288   John Sauelson                       Kirkendall Dwyer LLP                  8:20-cv-82188-MCR-GRJ                                             5/9/2022
   651       237313   Kelly Csrson                        Kirkendall Dwyer LLP                  8:20-cv-82231-MCR-GRJ                                             5/9/2022
   652       237315   Kirk Kobak                          Kirkendall Dwyer LLP                  8:20-cv-82235-MCR-GRJ                                             5/9/2022
   653       237319   Kyle Turner                         Kirkendall Dwyer LLP                  8:20-cv-82242-MCR-GRJ                                             5/9/2022
   654       237320   Kyle Sharp                          Kirkendall Dwyer LLP                  8:20-cv-82244-MCR-GRJ                                             5/9/2022
   655       237326   Lebarron Black                      Kirkendall Dwyer LLP                  8:20-cv-82254-MCR-GRJ                                             5/9/2022
   656       237327   Marc Martinez                       Kirkendall Dwyer LLP                  8:20-cv-82256-MCR-GRJ                                             5/9/2022
   657       237356   Quentin Koster                      Kirkendall Dwyer LLP                  8:20-cv-82307-MCR-GRJ                                             5/9/2022
   658       237376   Scott Phillips                      Kirkendall Dwyer LLP                  8:20-cv-82344-MCR-GRJ                                             5/9/2022
   659       237393   Tony Lighthizer                     Kirkendall Dwyer LLP                  8:20-cv-82374-MCR-GRJ                                             5/9/2022
   660       237404   William Lucas                       Kirkendall Dwyer LLP                  8:20-cv-82392-MCR-GRJ                                             5/9/2022
   661       237412   William Pack                        Kirkendall Dwyer LLP                  8:20-cv-82406-MCR-GRJ                                             5/9/2022
   662       237414   William Sheets                      Kirkendall Dwyer LLP                  8:20-cv-82410-MCR-GRJ                                             5/9/2022
   663       237418   William Mobley                      Kirkendall Dwyer LLP                  8:20-cv-82417-MCR-GRJ                                             5/9/2022
   664       237439   Donald Hubbs                        Kirkendall Dwyer LLP                  8:20-cv-82456-MCR-GRJ                                             5/9/2022
   665       239795   Amanda Scott                        Kirkendall Dwyer LLP                  8:20-cv-75488-MCR-GRJ                                             5/9/2022
   666       239798   Amy Harper-Headley                  Kirkendall Dwyer LLP                  8:20-cv-75502-MCR-GRJ                                             5/9/2022
   667       239806   Anthony Milligan                    Kirkendall Dwyer LLP                  8:20-cv-75540-MCR-GRJ                                             5/9/2022
   668       239807   Anthony Brown                       Kirkendall Dwyer LLP                  8:20-cv-75545-MCR-GRJ                                             5/9/2022
   669       239824   Brian Coutant                       Kirkendall Dwyer LLP                  8:20-cv-75638-MCR-GRJ                                             5/9/2022
   670       239836   Cameron Mitchell                    Kirkendall Dwyer LLP                  8:20-cv-75704-MCR-GRJ                                             5/9/2022
   671       239854   Christopher Kemp                    Kirkendall Dwyer LLP                  8:20-cv-75804-MCR-GRJ                                             5/9/2022
   672       239859   Christopher Mortensen               Kirkendall Dwyer LLP                  8:20-cv-75827-MCR-GRJ                                             5/9/2022
   673       239862   Christopher Mcdaniel                Kirkendall Dwyer LLP                  8:20-cv-75841-MCR-GRJ                                             5/9/2022
   674       239874   Corey Moore                         Kirkendall Dwyer LLP                  8:20-cv-75891-MCR-GRJ                                             5/9/2022
   675       239877   Dana Edwards                        Kirkendall Dwyer LLP                  8:20-cv-75902-MCR-GRJ                                             5/9/2022




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EXHIBIT B




                                                                                                                                                    Deadline to Submit Census Form to
   Row        PID                            Name                                Firm        Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                Defendants

   676       239893   Dustin Whetzler                     Kirkendall Dwyer LLP                8:20-cv-75963-MCR-GRJ                                             5/9/2022
   677       239897   Edward Robles                       Kirkendall Dwyer LLP                8:20-cv-75978-MCR-GRJ                                             5/9/2022
   678       239898   Edward Lyttle                       Kirkendall Dwyer LLP                8:20-cv-75982-MCR-GRJ                                             5/9/2022
   679       239907   Eric Hutchins                       Kirkendall Dwyer LLP                8:20-cv-76016-MCR-GRJ                                             5/9/2022
   680       239918   George Chavez                       Kirkendall Dwyer LLP                8:20-cv-76050-MCR-GRJ                                             5/9/2022
   681       239925   Henry Turner                        Kirkendall Dwyer LLP                8:20-cv-76070-MCR-GRJ                                             5/9/2022
   682       239928   Herschel Prudhomme                  Kirkendall Dwyer LLP                8:20-cv-76080-MCR-GRJ                                             5/9/2022
   683       239931   Issifou Siguiba                     Kirkendall Dwyer LLP                8:20-cv-76089-MCR-GRJ                                             5/9/2022
   684       239932   Jacob Purtle                        Kirkendall Dwyer LLP                8:20-cv-76091-MCR-GRJ                                             5/9/2022
   685       239935   Jacory Goodrich                     Kirkendall Dwyer LLP                8:20-cv-76098-MCR-GRJ                                             5/9/2022
   686       239945   James Burley                        Kirkendall Dwyer LLP                8:20-cv-76118-MCR-GRJ                                             5/9/2022
   687       239948   Jason Nelson                        Kirkendall Dwyer LLP                8:20-cv-76124-MCR-GRJ                                             5/9/2022
   688       239951   Jason Page                          Kirkendall Dwyer LLP                8:20-cv-76131-MCR-GRJ                                             5/9/2022
   689       239952   Jay Burridge                        Kirkendall Dwyer LLP                8:20-cv-76133-MCR-GRJ                                             5/9/2022
   690       239954   Jeffrey Vaughan                     Kirkendall Dwyer LLP                8:20-cv-76137-MCR-GRJ                                             5/9/2022
   691       239957   Jeffrey Mcknight                    Kirkendall Dwyer LLP                8:20-cv-76143-MCR-GRJ                                             5/9/2022
   692       239964   Jessica Black                       Kirkendall Dwyer LLP                8:20-cv-76157-MCR-GRJ                                             5/9/2022
   693       239967   Jesus Ramirez                       Kirkendall Dwyer LLP                8:20-cv-76163-MCR-GRJ                                             5/9/2022
   694       239975   Jonathan Basara                     Kirkendall Dwyer LLP                8:20-cv-76180-MCR-GRJ                                             5/9/2022
   695       239976   Jonathan Mcclendon                  Kirkendall Dwyer LLP                8:20-cv-76182-MCR-GRJ                                             5/9/2022
   696       239981   Jose Sierra Rivera                  Kirkendall Dwyer LLP                8:20-cv-76192-MCR-GRJ                                             5/9/2022
   697       240003   Kanisha Tisby                       Kirkendall Dwyer LLP                8:20-cv-76237-MCR-GRJ                                             5/9/2022
   698       240009   Kendrick Black                      Kirkendall Dwyer LLP                8:20-cv-76249-MCR-GRJ                                             5/9/2022
   699       240013   Kevin Koch                          Kirkendall Dwyer LLP                8:20-cv-76257-MCR-GRJ                                             5/9/2022
   700       240027   Leslie Gump                         Kirkendall Dwyer LLP                8:20-cv-76286-MCR-GRJ                                             5/9/2022
   701       240029   Lonnie Smithey                      Kirkendall Dwyer LLP                8:20-cv-76290-MCR-GRJ                                             5/9/2022
   702       240053   Michael Emmons                      Kirkendall Dwyer LLP                8:20-cv-76339-MCR-GRJ                                             5/9/2022
   703       240062   Morgan Mcelroy                      Kirkendall Dwyer LLP                8:20-cv-76357-MCR-GRJ                                             5/9/2022
   704       240086   Robert Ocampo                       Kirkendall Dwyer LLP                8:20-cv-76406-MCR-GRJ                                             5/9/2022
   705       240087   Robert Bohon                        Kirkendall Dwyer LLP                8:20-cv-76408-MCR-GRJ                                             5/9/2022
   706       240091   Robert Howard                       Kirkendall Dwyer LLP                8:20-cv-76416-MCR-GRJ                                             5/9/2022
   707       240110   Sarah Swander                       Kirkendall Dwyer LLP                8:20-cv-76455-MCR-GRJ                                             5/9/2022
   708       240120   Shawn Marker                        Kirkendall Dwyer LLP                8:20-cv-76475-MCR-GRJ                                             5/9/2022
   709       240129   Terrence Carter                     Kirkendall Dwyer LLP                8:20-cv-76494-MCR-GRJ                                             5/9/2022
   710       240135   Thomas Lamb                         Kirkendall Dwyer LLP                8:20-cv-76506-MCR-GRJ                                             5/9/2022
   711       240141   Tony Williams                       Kirkendall Dwyer LLP                8:20-cv-76518-MCR-GRJ                                             5/9/2022
   712       240150   Verlan Klenk                        Kirkendall Dwyer LLP                8:20-cv-76536-MCR-GRJ                                             5/9/2022
   713       240153   Vince Capizzi                       Kirkendall Dwyer LLP                8:20-cv-76543-MCR-GRJ                                             5/9/2022
   714       240154   Vincent Cendejas                    Kirkendall Dwyer LLP                8:20-cv-76545-MCR-GRJ                                             5/9/2022
   715       240157   Wesley Berly Mandonado              Kirkendall Dwyer LLP                8:20-cv-76551-MCR-GRJ                                             5/9/2022
   716       242054   Adam Boots                          Kirkendall Dwyer LLP                8:20-cv-90099-MCR-GRJ                                             5/9/2022
   717       242055   Darren Bowens                       Kirkendall Dwyer LLP                8:20-cv-90100-MCR-GRJ                                             5/9/2022
   718       242061   Shaji Brown                         Kirkendall Dwyer LLP                8:20-cv-90106-MCR-GRJ                                             5/9/2022
   719       242063   Demarious Buckholts                 Kirkendall Dwyer LLP                8:20-cv-90108-MCR-GRJ                                             5/9/2022
   720       242066   Michael Cain                        Kirkendall Dwyer LLP                8:20-cv-90111-MCR-GRJ                                             5/9/2022
   721       242069   Sean Clymer                         Kirkendall Dwyer LLP                8:20-cv-90114-MCR-GRJ                                             5/9/2022
   722       242094   Monnica Felix                       Kirkendall Dwyer LLP                8:20-cv-90139-MCR-GRJ                                             5/9/2022
   723       242099   Richard Fisher                      Kirkendall Dwyer LLP                8:20-cv-90144-MCR-GRJ                                             5/9/2022
   724       242102   Ernest Frazier                      Kirkendall Dwyer LLP                8:20-cv-90147-MCR-GRJ                                             5/9/2022
   725       242104   Kristine Fredricksen                Kirkendall Dwyer LLP                8:20-cv-90149-MCR-GRJ                                             5/9/2022
   726       242110   Larry Garner                        Kirkendall Dwyer LLP                8:20-cv-90160-MCR-GRJ                                             5/9/2022
   727       242118   Jerome Gray                         Kirkendall Dwyer LLP                8:20-cv-90168-MCR-GRJ                                             5/9/2022
   728       242122   Shannon Hand                        Kirkendall Dwyer LLP                8:20-cv-90172-MCR-GRJ                                             5/9/2022
   729       242125   Scott Helton                        Kirkendall Dwyer LLP                8:20-cv-90177-MCR-GRJ                                             5/9/2022
   730       242130   Larry Howard                        Kirkendall Dwyer LLP                8:20-cv-90185-MCR-GRJ                                             5/9/2022
   731       242140   Ann Jacobs                          Kirkendall Dwyer LLP                8:20-cv-90201-MCR-GRJ                                             5/9/2022
   732       242142   Nicholas Jenkins                    Kirkendall Dwyer LLP                8:20-cv-90204-MCR-GRJ                                             5/9/2022
   733       242145   Edward Johnson                      Kirkendall Dwyer LLP                8:20-cv-90209-MCR-GRJ                                             5/9/2022
   734       242147   David Johnston                      Kirkendall Dwyer LLP                8:20-cv-90212-MCR-GRJ                                             5/9/2022
   735       242155   Paul Kane                           Kirkendall Dwyer LLP                8:20-cv-90225-MCR-GRJ                                             5/9/2022
   736       242157   Thomas Kennard                      Kirkendall Dwyer LLP                8:20-cv-90228-MCR-GRJ                                             5/9/2022
   737       242159   Vincent Kim                         Kirkendall Dwyer LLP                8:20-cv-90232-MCR-GRJ                                             5/9/2022
   738       242161   Tim Kohls                           Kirkendall Dwyer LLP                8:20-cv-90235-MCR-GRJ                                             5/9/2022
   739       242162   Joseph Korte                        Kirkendall Dwyer LLP                8:20-cv-90236-MCR-GRJ                                             5/9/2022
   740       242163   Armand Lacaillade                   Kirkendall Dwyer LLP                8:20-cv-90238-MCR-GRJ                                             5/9/2022
   741       242165   Crystal Lapsley                     Kirkendall Dwyer LLP                8:20-cv-90241-MCR-GRJ                                             5/9/2022
   742       242181   Joel Martinez                       Kirkendall Dwyer LLP                8:20-cv-90268-MCR-GRJ                                             5/9/2022
   743       242185   Pedro Mazariegos                    Kirkendall Dwyer LLP                8:20-cv-90274-MCR-GRJ                                             5/9/2022
   744       242189   Michael Mcdougall                   Kirkendall Dwyer LLP                8:20-cv-90281-MCR-GRJ                                             5/9/2022
   745       242190   Richard Mcgee                       Kirkendall Dwyer LLP                8:20-cv-90283-MCR-GRJ                                             5/9/2022
   746       242196   Piper Medina                        Kirkendall Dwyer LLP                8:20-cv-90292-MCR-GRJ                                             5/9/2022
   747       242200   Anaid Molina                        Kirkendall Dwyer LLP                8:20-cv-90299-MCR-GRJ                                             5/9/2022
   748       242201   David Montgomery                    Kirkendall Dwyer LLP                8:20-cv-90301-MCR-GRJ                                             5/9/2022
   749       242209   Matthew Moyer                       Kirkendall Dwyer LLP                8:20-cv-90315-MCR-GRJ                                             5/9/2022
   750       242214   Alexis Neal                         Kirkendall Dwyer LLP                8:20-cv-90323-MCR-GRJ                                             5/9/2022




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                                                                                                                                                    Deadline to Submit Census Form to
   Row        PID                              Name                              Firm        Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                Defendants

   751       242216   Matthew Nohe                        Kirkendall Dwyer LLP                8:20-cv-90327-MCR-GRJ                                             5/9/2022
   752       242220   Oscar Oropeza                       Kirkendall Dwyer LLP                8:20-cv-90334-MCR-GRJ                                             5/9/2022
   753       242224   Marquice Owens                      Kirkendall Dwyer LLP                8:20-cv-90341-MCR-GRJ                                             5/9/2022
   754       242236   Zachary Potter                      Kirkendall Dwyer LLP                8:20-cv-90362-MCR-GRJ                                             5/9/2022
   755       242237   Evan Quiroz                         Kirkendall Dwyer LLP                8:20-cv-90364-MCR-GRJ                                             5/9/2022
   756       242240   Leslie Resha                        Kirkendall Dwyer LLP                8:20-cv-90369-MCR-GRJ                                             5/9/2022
   757       242242   Albert Richmond                     Kirkendall Dwyer LLP                8:20-cv-90372-MCR-GRJ                                             5/9/2022
   758       242245   Robert Roberts                      Kirkendall Dwyer LLP                8:20-cv-90377-MCR-GRJ                                             5/9/2022
   759       242259   Anitta Schumacher                   Kirkendall Dwyer LLP                8:20-cv-90401-MCR-GRJ                                             5/9/2022
   760       242263   Christopher Shortt                  Kirkendall Dwyer LLP                8:20-cv-90408-MCR-GRJ                                             5/9/2022
   761       242266   Patrick Small                       Kirkendall Dwyer LLP                8:20-cv-90414-MCR-GRJ                                             5/9/2022
   762       242269   Jason Smith                         Kirkendall Dwyer LLP                8:20-cv-90419-MCR-GRJ                                             5/9/2022
   763       242274   Pavel Stookey                       Kirkendall Dwyer LLP                8:20-cv-90428-MCR-GRJ                                             5/9/2022
   764       242280   Marc Tapp                           Kirkendall Dwyer LLP                8:20-cv-90439-MCR-GRJ                                             5/9/2022
   765       242287   Ignacio Torres                      Kirkendall Dwyer LLP                8:20-cv-90451-MCR-GRJ                                             5/9/2022
   766       242299   Sean Waddell                        Kirkendall Dwyer LLP                8:20-cv-90472-MCR-GRJ                                             5/9/2022
   767       242300   James Waffle                        Kirkendall Dwyer LLP                8:20-cv-90473-MCR-GRJ                                             5/9/2022
   768       242309   Daryl Wiggins                       Kirkendall Dwyer LLP                8:20-cv-90488-MCR-GRJ                                             5/9/2022
   769       245926   Aaron Ray                           Kirkendall Dwyer LLP                8:20-cv-93402-MCR-GRJ                                             5/9/2022
   770       245932   Allon Collins                       Kirkendall Dwyer LLP                8:20-cv-93416-MCR-GRJ                                             5/9/2022
   771       245935   Andres Barba                        Kirkendall Dwyer LLP                8:20-cv-93423-MCR-GRJ                                             5/9/2022
   772       245937   Andrew Ray                          Kirkendall Dwyer LLP                8:20-cv-93427-MCR-GRJ                                             5/9/2022
   773       245944   Arron Buchanan                      Kirkendall Dwyer LLP                8:20-cv-93443-MCR-GRJ                                             5/9/2022
   774       245954   Brandon Lints                       Kirkendall Dwyer LLP                8:20-cv-93466-MCR-GRJ                                             5/9/2022
   775       245955   Brennan Staggers                    Kirkendall Dwyer LLP                8:20-cv-93469-MCR-GRJ                                             5/9/2022
   776       245961   Carolyn Teachey                     Kirkendall Dwyer LLP                8:20-cv-93477-MCR-GRJ                                             5/9/2022
   777       245971   Christopher Bookman                 Kirkendall Dwyer LLP                8:20-cv-93487-MCR-GRJ                                             5/9/2022
   778       245988   David Griffen                       Kirkendall Dwyer LLP                8:20-cv-93504-MCR-GRJ                                             5/9/2022
   779       245994   Dirk Mancuso                        Kirkendall Dwyer LLP                8:20-cv-93510-MCR-GRJ                                             5/9/2022
   780       245995   Dominque James                      Kirkendall Dwyer LLP                8:20-cv-93511-MCR-GRJ                                             5/9/2022
   781       245999   Dwight Cover                        Kirkendall Dwyer LLP                8:20-cv-93515-MCR-GRJ                                             5/9/2022
   782       246002   Eliel Molina                        Kirkendall Dwyer LLP                8:20-cv-93520-MCR-GRJ                                             5/9/2022
   783       246004   Eric Valuchuck                      Kirkendall Dwyer LLP                8:20-cv-93522-MCR-GRJ                                             5/9/2022
   784       246006   Floyd Henry                         Kirkendall Dwyer LLP                8:20-cv-93524-MCR-GRJ                                             5/9/2022
   785       246007   Frank Verdugo                       Kirkendall Dwyer LLP                8:20-cv-93525-MCR-GRJ                                             5/9/2022
   786       246008   Frankey Peterman                    Kirkendall Dwyer LLP                8:20-cv-93526-MCR-GRJ                                             5/9/2022
   787       246014   Gregory Moore                       Kirkendall Dwyer LLP                8:20-cv-93532-MCR-GRJ                                             5/9/2022
   788       246019   Holden Lucke                        Kirkendall Dwyer LLP                8:20-cv-93537-MCR-GRJ                                             5/9/2022
   789       246021   Jacob Patton                        Kirkendall Dwyer LLP                8:20-cv-93539-MCR-GRJ                                             5/9/2022
   790       246024   James Keathley                      Kirkendall Dwyer LLP                8:20-cv-93542-MCR-GRJ                                             5/9/2022
   791       246026   James Green                         Kirkendall Dwyer LLP                8:20-cv-93544-MCR-GRJ                                             5/9/2022
   792       246031   Jasmine Godwin                      Kirkendall Dwyer LLP                8:20-cv-93549-MCR-GRJ                                             5/9/2022
   793       246032   Jasmine Dyson                       Kirkendall Dwyer LLP                8:20-cv-93550-MCR-GRJ                                             5/9/2022
   794       246036   Jeffery Highler                     Kirkendall Dwyer LLP                8:20-cv-93554-MCR-GRJ                                             5/9/2022
   795       246043   Joey Varney                         Kirkendall Dwyer LLP                8:20-cv-93561-MCR-GRJ                                             5/9/2022
   796       246046   John Ung                            Kirkendall Dwyer LLP                8:20-cv-93564-MCR-GRJ                                             5/9/2022
   797       246047   John Kleinman                       Kirkendall Dwyer LLP                8:20-cv-93565-MCR-GRJ                                             5/9/2022
   798       246061   Joshua Swauger                      Kirkendall Dwyer LLP                8:20-cv-93579-MCR-GRJ                                             5/9/2022
   799       246063   Jw Turner                           Kirkendall Dwyer LLP                8:20-cv-93581-MCR-GRJ                                             5/9/2022
   800       246102   Nathaniel Watkins                   Kirkendall Dwyer LLP                8:20-cv-93620-MCR-GRJ                                             5/9/2022
   801       246105   Orrin Lafond                        Kirkendall Dwyer LLP                8:20-cv-93623-MCR-GRJ                                             5/9/2022
   802       246113   Phillip Colley                      Kirkendall Dwyer LLP                8:20-cv-93654-MCR-GRJ                                             5/9/2022
   803       246117   Randall Parnell                     Kirkendall Dwyer LLP                8:20-cv-93662-MCR-GRJ                                             5/9/2022
   804       246130   Sergio Bedolla Rosiles              Kirkendall Dwyer LLP                8:20-cv-93691-MCR-GRJ                                             5/9/2022
   805       246137   Steve Mosier                        Kirkendall Dwyer LLP                8:20-cv-93707-MCR-GRJ                                             5/9/2022
   806       246144   Thomas Vilas                        Kirkendall Dwyer LLP                8:20-cv-93722-MCR-GRJ                                             5/9/2022
   807       246146   Thomas Coggins                      Kirkendall Dwyer LLP                8:20-cv-93727-MCR-GRJ                                             5/9/2022
   808       246152   Timothy Halstead                    Kirkendall Dwyer LLP                8:20-cv-93823-MCR-GRJ                                             5/9/2022
   809       246153   Travis Hoak                         Kirkendall Dwyer LLP                8:20-cv-93825-MCR-GRJ                                             5/9/2022
   810       250358   Edward Bell                         Kirkendall Dwyer LLP                8:20-cv-94995-MCR-GRJ                                             5/9/2022
   811       250368   Daniel Britton                      Kirkendall Dwyer LLP                8:20-cv-95005-MCR-GRJ                                             5/9/2022
   812       250381   Daniel Carlson                      Kirkendall Dwyer LLP                8:20-cv-95018-MCR-GRJ                                             5/9/2022
   813       250389   Carmon Cave                         Kirkendall Dwyer LLP                8:20-cv-95026-MCR-GRJ                                             5/9/2022
   814       250398   Roy Clay                            Kirkendall Dwyer LLP                8:20-cv-95035-MCR-GRJ                                             5/9/2022
   815       250402   Anthony Colon                       Kirkendall Dwyer LLP                8:20-cv-95039-MCR-GRJ                                             5/9/2022
   816       250431   Matthew Feit                        Kirkendall Dwyer LLP                8:20-cv-95068-MCR-GRJ                                             5/9/2022
   817       250448   Richard Gomez                       Kirkendall Dwyer LLP                8:20-cv-95085-MCR-GRJ                                             5/9/2022
   818       250478   Johnathan Inman                     Kirkendall Dwyer LLP                8:20-cv-95115-MCR-GRJ                                             5/9/2022
   819       250517   Angelica Lewis                      Kirkendall Dwyer LLP                8:20-cv-95215-MCR-GRJ                                             5/9/2022
   820       250600   Edmond Rossovich                    Kirkendall Dwyer LLP                8:20-cv-95298-MCR-GRJ                                             5/9/2022
   821       250604   Kevin Sanders                       Kirkendall Dwyer LLP                8:20-cv-95302-MCR-GRJ                                             5/9/2022
   822       250612   James Serrata                       Kirkendall Dwyer LLP                8:20-cv-95310-MCR-GRJ                                             5/9/2022
   823       250614   Craig Shaw                          Kirkendall Dwyer LLP                8:20-cv-95312-MCR-GRJ                                             5/9/2022
   824       250615   Christopher Sheehan                 Kirkendall Dwyer LLP                8:20-cv-95313-MCR-GRJ                                             5/9/2022
   825       250617   Joe Shin                            Kirkendall Dwyer LLP                                           8:20-cv-95315-MCR-GRJ                  5/9/2022




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                                                                                                                                                       Deadline to Submit Census Form to
   Row        PID                           Name                                    Firm        Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                   Defendants

   826       250618   Colleen Shine                       Kirkendall Dwyer LLP                   8:20-cv-95316-MCR-GRJ                                             5/9/2022
   827       250656   Kyle Vickers                        Kirkendall Dwyer LLP                   8:20-cv-95354-MCR-GRJ                                             5/9/2022
   828       250659   Jacob Vourazeris                    Kirkendall Dwyer LLP                   8:20-cv-95357-MCR-GRJ                                             5/9/2022
   829       250670   Cordelia Williams                   Kirkendall Dwyer LLP                   8:20-cv-95368-MCR-GRJ                                             5/9/2022
   830       250674   Brian Wood                          Kirkendall Dwyer LLP                   8:20-cv-95372-MCR-GRJ                                             5/9/2022
   831       250678   Michael Xiques                      Kirkendall Dwyer LLP                   8:20-cv-95376-MCR-GRJ                                             5/9/2022
   832       251843   Dustin Andrew                       Kirkendall Dwyer LLP                   8:20-cv-97353-MCR-GRJ                                             5/9/2022
   833       251866   Joseph Denney                       Kirkendall Dwyer LLP                   8:20-cv-97376-MCR-GRJ                                             5/9/2022
   834       251889   Doug Hilliard                       Kirkendall Dwyer LLP                   8:20-cv-97406-MCR-GRJ                                             5/9/2022
   835       251947   Joshua Tolbert                      Kirkendall Dwyer LLP                   8:20-cv-97524-MCR-GRJ                                             5/9/2022
   836       251952   Jonathan Ward                       Kirkendall Dwyer LLP                   8:20-cv-97534-MCR-GRJ                                             5/9/2022
   837       307103   James Potter                        Kirkendall Dwyer LLP                   7:21-cv-24144-MCR-GRJ                                             5/9/2022
   838       307249   Edward Lesure                       Kirkendall Dwyer LLP                   7:21-cv-26113-MCR-GRJ                                             5/9/2022
   839       321261   Jessica Atkins                      Kirkendall Dwyer LLP                   7:21-cv-37421-MCR-GRJ                                             5/9/2022
   840       321271   Matthew Beavers                     Kirkendall Dwyer LLP                   7:21-cv-37431-MCR-GRJ                                             5/9/2022
   841       321274   Craig Bell                          Kirkendall Dwyer LLP                   7:21-cv-37434-MCR-GRJ                                             5/9/2022
   842       321278   Garrett Berg                        Kirkendall Dwyer LLP                   7:21-cv-37438-MCR-GRJ                                             5/9/2022
   843       321279   Raymond Bergold                     Kirkendall Dwyer LLP                   7:21-cv-37439-MCR-GRJ                                             5/9/2022
   844       321281   Efrain Betancourt Fuente            Kirkendall Dwyer LLP                   7:21-cv-37441-MCR-GRJ                                             5/9/2022
   845       321282   Dondrick Bethea                     Kirkendall Dwyer LLP                   7:21-cv-37442-MCR-GRJ                                             5/9/2022
   846       321284   Roy Boatner                         Kirkendall Dwyer LLP                   7:21-cv-37444-MCR-GRJ                                             5/9/2022
   847       321286   Derek Booker                        Kirkendall Dwyer LLP                   7:21-cv-37446-MCR-GRJ                                             5/9/2022
   848       321290   Bradley Vasquez                     Kirkendall Dwyer LLP                   7:21-cv-37450-MCR-GRJ                                             5/9/2022
   849       321293   Dean Burguess                       Kirkendall Dwyer LLP                   7:21-cv-37453-MCR-GRJ                                             5/9/2022
   850       321299   Jose Camilo                         Kirkendall Dwyer LLP                   7:21-cv-37459-MCR-GRJ                                             5/9/2022
   851       321302   Joshua Carpenter                    Kirkendall Dwyer LLP                   7:21-cv-37462-MCR-GRJ                                             5/9/2022
   852       321307   Brandon Chavis                      Kirkendall Dwyer LLP                   7:21-cv-37467-MCR-GRJ                                             5/9/2022
   853       321310   Greg Cole                           Kirkendall Dwyer LLP                   7:21-cv-37470-MCR-GRJ                                             5/9/2022
   854       321312   Brian Collins                       Kirkendall Dwyer LLP                   7:21-cv-37472-MCR-GRJ                                             5/9/2022
   855       321318   Jonathan Cowell                     Kirkendall Dwyer LLP                   7:21-cv-37478-MCR-GRJ                                             5/9/2022
   856       321328   Ray Davis                           Kirkendall Dwyer LLP                   7:21-cv-37488-MCR-GRJ                                             5/9/2022
   857       321339   Phillip Dolde                       Kirkendall Dwyer LLP                   7:21-cv-37498-MCR-GRJ                                             5/9/2022
   858       321420   Nate Hirshberg                      Kirkendall Dwyer LLP                   7:21-cv-37575-MCR-GRJ                                             5/9/2022
   859       321456   Harvey Kibble                       Kirkendall Dwyer LLP                   7:21-cv-37611-MCR-GRJ                                             5/9/2022
   860       321474   Cintya Lopez                        Kirkendall Dwyer LLP                   7:21-cv-38084-MCR-GRJ                                             5/9/2022
   861       321480   Sean Mack                           Kirkendall Dwyer LLP                   7:21-cv-38096-MCR-GRJ                                             5/9/2022
   862       321490   Noel Mata                           Kirkendall Dwyer LLP                   7:21-cv-38116-MCR-GRJ                                             5/9/2022
   863       321492   Mukesh May                          Kirkendall Dwyer LLP                   7:21-cv-38121-MCR-GRJ                                             5/9/2022
   864       321539   John O'Brien                        Kirkendall Dwyer LLP                   7:21-cv-38265-MCR-GRJ                                             5/9/2022
   865       321540   Richard Oconnor                     Kirkendall Dwyer LLP                   7:21-cv-38268-MCR-GRJ                                             5/9/2022
   866       321562   Chris Platt                         Kirkendall Dwyer LLP                   7:21-cv-38333-MCR-GRJ                                             5/9/2022
   867       356479   Emily Collins                       Laminack Pirtle & Martines                                        3:22-cv-01469-MCR-GRJ                  5/9/2022
   868       356480   Kevilon Collins                     Laminack Pirtle & Martines                                        3:22-cv-01470-MCR-GRJ                  5/9/2022
   869       356481   Ronald Comtois                      Laminack Pirtle & Martines                                        3:22-cv-01472-MCR-GRJ                  5/9/2022
   870       356484   Cory Cravens                        Laminack Pirtle & Martines                                        3:22-cv-01475-MCR-GRJ                  5/9/2022
   871       356485   Natasha Crockett                    Laminack Pirtle & Martines                                        3:22-cv-01476-MCR-GRJ                  5/9/2022
   872       356486   Justin Crosswhite                   Laminack Pirtle & Martines                                        3:22-cv-01478-MCR-GRJ                  5/9/2022
   873       356487   Michael Dane                        Laminack Pirtle & Martines                                        3:22-cv-01486-MCR-GRJ                  5/9/2022
   874       356488   Andrew Davis                        Laminack Pirtle & Martines                                        3:22-cv-01487-MCR-GRJ                  5/9/2022
   875       356490   Matthew Dentice                     Laminack Pirtle & Martines                                        3:22-cv-01491-MCR-GRJ                  5/9/2022
   876       356491   Shawn Devitt                        Laminack Pirtle & Martines                                        3:22-cv-01493-MCR-GRJ                  5/9/2022
   877       356493   John Engard                         Laminack Pirtle & Martines                                        3:22-cv-01566-MCR-GRJ                  5/10/2022
   878       356495   Teresa Folk                         Laminack Pirtle & Martines                                        3:22-cv-01569-MCR-GRJ                  5/10/2022
   879       356497   Steven Fortier                      Laminack Pirtle & Martines                                        3:22-cv-01573-MCR-GRJ                  5/10/2022
   880       356500   Travis Garrett                      Laminack Pirtle & Martines                                        3:22-cv-01590-MCR-GRJ                  5/10/2022
   881       356501   Jason Glomski                       Laminack Pirtle & Martines                                        3:22-cv-01597-MCR-GRJ                  5/10/2022
   882       356502   Jorge Gonzalez                      Laminack Pirtle & Martines                                        3:22-cv-01603-MCR-GRJ                  5/10/2022
   883       356505   Brandon Gray                        Laminack Pirtle & Martines                                        3:22-cv-01609-MCR-GRJ                  5/10/2022
   884       356507   Jason Gregory                       Laminack Pirtle & Martines                                        3:22-cv-01616-MCR-GRJ                  5/10/2022
   885       331386   David Carroll                       Lockridge Grindal Nauen                                           7:21-cv-48249-MCR-GRJ                  6/6/2022
   886       331446   Anthony Matlock                     Lockridge Grindal Nauen                7:21-cv-48285-MCR-GRJ                                             6/6/2022
   887       331447   Gloria Mcfail                       Lockridge Grindal Nauen                7:21-cv-48286-MCR-GRJ                                             6/6/2022
   888       331452   Elizabeth Powers                    Lockridge Grindal Nauen                7:21-cv-48291-MCR-GRJ                                             6/6/2022
   889       332022   Christopher Speight                 Lockridge Grindal Nauen                7:21-cv-53799-MCR-GRJ                                             6/6/2022
   890       332745   Tyler Wright                        Lockridge Grindal Nauen                7:21-cv-53802-MCR-GRJ                                             6/6/2022
   891       332771   John Hernandez                      Lockridge Grindal Nauen                                           7:21-cv-53812-MCR-GRJ                  6/6/2022
   892       332813   Mark Stevens                        Lockridge Grindal Nauen                7:21-cv-53849-MCR-GRJ                                             6/6/2022
   893       332818   David Wright                        Lockridge Grindal Nauen                7:21-cv-53855-MCR-GRJ                                             6/6/2022
   894       334231   James Allison                       Lockridge Grindal Nauen                7:21-cv-54304-MCR-GRJ                                             6/6/2022
   895       334243   Cory Shockey                        Lockridge Grindal Nauen                                           7:21-cv-54316-MCR-GRJ                  6/6/2022
   896       334246   Abraham Torres                      Lockridge Grindal Nauen                                           7:21-cv-54319-MCR-GRJ                  6/6/2022
   897       335038   Rayne Brandon                       Lockridge Grindal Nauen                7:21-cv-54391-MCR-GRJ                                             6/6/2022
   898       335043   Jeffery Downs                       Lockridge Grindal Nauen                                           7:21-cv-54396-MCR-GRJ                  6/6/2022
   899       335044   Joshua Draper                       Lockridge Grindal Nauen                7:21-cv-54397-MCR-GRJ                                             6/6/2022
   900       335064   Angelo Pharr                        Lockridge Grindal Nauen                7:21-cv-53577-MCR-GRJ                                             6/6/2022




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   Row        PID                            Name                                    Firm                Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                                            Defendants

   901       335067   Amanda Reasoner                     Lockridge Grindal Nauen                         7:21-cv-53583-MCR-GRJ                                             6/6/2022
   902       360456   Darrell Woods                       Lockridge Grindal Nauen                                                    3:22-cv-04684-MCR-GRJ                  6/27/2022
   903       333291   Tony Gildersleeve                   Morris Bart, LLC                                7:21-cv-48599-MCR-GRJ                                             6/6/2022
   904       333295   Jules Fortenot                      Morris Bart, LLC                                7:21-cv-48602-MCR-GRJ                                             6/6/2022
   905       333297   Joewaski Jackson                    Morris Bart, LLC                                7:21-cv-48604-MCR-GRJ                                             6/6/2022
   906       333299   Samoa Mcclanahan                    Morris Bart, LLC                                7:21-cv-48606-MCR-GRJ                                             6/6/2022
   907       332731   Michael Zirkle                      OnderLaw, LLC                                   7:21-cv-52769-MCR-GRJ                                             6/6/2022
   908       332733   Robert Anthony                      OnderLaw, LLC                                                              7:21-cv-52771-MCR-GRJ                  6/6/2022
   909       332735   Anthony Villaruel                   OnderLaw, LLC                                   7:21-cv-52773-MCR-GRJ                                             6/6/2022
   910       332739   Jermaine Berrian                    OnderLaw, LLC                                   7:21-cv-52777-MCR-GRJ                                             6/6/2022
   911       344359   Giseth Mosley                       OnderLaw, LLC                                                              7:21-cv-63375-MCR-GRJ                  6/6/2022
   912       357136   Humerto Medina                      OnderLaw, LLC                                                              3:22-cv-01432-MCR-GRJ                  5/9/2022
   913       357139   Kevin Adams                         OnderLaw, LLC                                                              3:22-cv-01583-MCR-GRJ                  5/10/2022
   914       357140   Daniel Price                        OnderLaw, LLC                                                              3:22-cv-01591-MCR-GRJ                  5/10/2022
   915       357144   David Parham                        OnderLaw, LLC                                                              3:22-cv-01598-MCR-GRJ                  5/10/2022
   916       357148   Roland White                        OnderLaw, LLC                                                              3:22-cv-02029-MCR-GRJ                  5/17/2022
   917       357149   Douglas Mcclung                     OnderLaw, LLC                                                              3:22-cv-02031-MCR-GRJ                  5/17/2022
   918       357150   Zackary Pumpelly                    OnderLaw, LLC                                                              3:22-cv-02033-MCR-GRJ                  5/17/2022
   919       357157   Anitra Carr                         OnderLaw, LLC                                                              3:22-cv-02082-MCR-GRJ                  5/23/2022
   920       357158   Michael Gray                        OnderLaw, LLC                                                              3:22-cv-02083-MCR-GRJ                  5/23/2022
   921       357162   Pelagia Jones                       OnderLaw, LLC                                                              3:22-cv-02089-MCR-GRJ                  5/23/2022
   922       357163   Gary Caraballo                      OnderLaw, LLC                                                              3:22-cv-02090-MCR-GRJ                  5/23/2022
   923       361002   Liana Rodriguez                     Paul LLP                                                                   3:22-cv-04758-MCR-GRJ                  6/27/2022
   924       356560   Jacob Retterath                     Saltz, Mongeluzzi, Barrett & Bendesky, P.C.                                3:22-cv-02038-MCR-GRJ                 5/17/2022
   925       334321   Timothy Hill                        Simmons Hanly Conroy                            7:21-cv-48644-MCR-GRJ                                             6/6/2022
   926       359978   Richard Lee                         Singleton Schreiber, LLP                                                   3:22-cv-02962-MCR-GRJ                  6/2/2022
   927       359619   Samuel Nutt                         Slater Slater Schulman LLP                                                 3:22-cv-02634-MCR-GRJ                  5/31/2022
   928       333500   Marvin Olsen                        The Carlson Law Firm                            7:21-cv-53887-MCR-GRJ                                             6/6/2022
   929       333509   Brandon Blondell                    The Carlson Law Firm                            7:21-cv-53902-MCR-GRJ                                             6/6/2022
   930       333539   Stephen Wilson                      The Carlson Law Firm                            7:21-cv-53998-MCR-GRJ                                             6/6/2022
   931       333578   Ariel Gilbert                       The Carlson Law Firm                            7:21-cv-54063-MCR-GRJ                                             6/6/2022
   932       333596   George Cripps                       The Carlson Law Firm                            7:21-cv-54098-MCR-GRJ                                             6/6/2022
   933       333606   Roderick Mcpherson                  The Carlson Law Firm                            7:21-cv-54116-MCR-GRJ                                             6/6/2022
   934       333684   Lonnie Robertson                    The Carlson Law Firm                            7:21-cv-54692-MCR-GRJ                                             6/6/2022
   935       333688   Aaron Johnson                       The Carlson Law Firm                            7:21-cv-54264-MCR-GRJ                                             6/6/2022
   936       333691   Shawn Mccollester                   The Carlson Law Firm                            7:21-cv-54270-MCR-GRJ                                             6/6/2022
   937       333693   Matthew Holmes                      The Carlson Law Firm                            7:21-cv-54274-MCR-GRJ                                             6/6/2022
   938       333696   Brock Warren                        The Carlson Law Firm                                                       7:21-cv-54280-MCR-GRJ                  6/6/2022
   939       333719   Troy Frese                          The Carlson Law Firm                            7:21-cv-54711-MCR-GRJ                                             6/6/2022
   940       333731   Christopher Geraldi                 The Carlson Law Firm                            7:21-cv-54723-MCR-GRJ                                             6/6/2022
   941       333736   Michael Tolomeo                     The Carlson Law Firm                            7:21-cv-54728-MCR-GRJ                                             6/6/2022
   942       357405   Aaron Perkins                       The Ferraro Law Firm                                                       3:22-cv-01697-MCR-GRJ                  5/11/2022
   943       357410   Ryan Sedlacek                       The Ferraro Law Firm                                                       3:22-cv-01748-MCR-GRJ                  5/12/2022
   944       357417   Mandy Tanner                        The Ferraro Law Firm                                                       3:22-cv-01777-MCR-GRJ                  5/12/2022
   945       357419   Angel Ortiz                         The Ferraro Law Firm                                                       3:22-cv-01811-MCR-GRJ                  5/12/2022
   946       357428   James Rodger                        The Ferraro Law Firm                                                       3:22-cv-02359-MCR-GRJ                  5/30/2022
   947       357434   Anthony Anderson                    The Ferraro Law Firm                                                       3:22-cv-02418-MCR-GRJ                  5/30/2022
   948       357438   Jason Krueger                       The Ferraro Law Firm                                                       3:22-cv-02529-MCR-GRJ                  5/31/2022
   949       357445   Joseph Gentile                      The Ferraro Law Firm                                                       3:22-cv-02627-MCR-GRJ                  5/31/2022
   950       357448   Kimberly Palmer                     The Ferraro Law Firm                                                       3:22-cv-02705-MCR-GRJ                  6/1/2022
   951       357459   Justin Conwell                      The Ferraro Law Firm                                                       3:22-cv-02616-MCR-GRJ                  5/31/2022
   952       357880   Jeffrey Darden                      The Ferraro Law Firm                                                       3:22-cv-04147-MCR-GRJ                  6/15/2022
   953       357896   Adam Putman                         The Ferraro Law Firm                                                       3:22-cv-04139-MCR-GRJ                  6/15/2022
   954       357900   Richard Breaux                      The Ferraro Law Firm                                                       3:22-cv-02279-MCR-GRJ                  5/30/2022
   955       359623   Bryan Guardiano                     The Gallagher Law Firm PLLC                                                3:22-cv-03066-MCR-GRJ                  6/6/2022
   956       359625   Michael Johnston                    The Gallagher Law Firm PLLC                                                3:22-cv-02679-MCR-GRJ                  6/1/2022
   957       360056   Melvin De Jesus-Guilloty            The Gallagher Law Firm PLLC                                                3:22-cv-04837-MCR-GRJ                  6/30/2022
   958       361010   David Retherford                    The Gallagher Law Firm PLLC                                                3:22-cv-05016-MCR-GRJ                 7/11/2022
   959       361075   Steven Colon                        The Gallagher Law Firm PLLC                                                3:22-cv-05385-MCR-GRJ                  7/18/2022
   960       331539   Taneshia Fisher                     The Kuykendall Group LLc                        7:21-cv-50497-MCR-GRJ                                             6/6/2022
   961       331576   Maria Moore                         The Kuykendall Group LLc                        7:21-cv-50571-MCR-GRJ                                             6/6/2022
   962       331640   Christopher Lewis                   The Kuykendall Group LLc                        7:21-cv-50633-MCR-GRJ                                             6/6/2022
   963       331655   David Goldammer                     The Kuykendall Group LLc                        7:21-cv-50648-MCR-GRJ                                             6/6/2022
   964       331681   Tony Peyton                         The Kuykendall Group LLc                        7:21-cv-50674-MCR-GRJ                                             6/6/2022
   965       331704   Rick Bannon                         The Kuykendall Group LLc                        7:21-cv-50697-MCR-GRJ                                             6/6/2022
   966       331712   Troy Neville                        The Kuykendall Group LLc                        7:21-cv-50705-MCR-GRJ                                             6/6/2022
   967       331713   Charles Shafer                      The Kuykendall Group LLc                        7:21-cv-50706-MCR-GRJ                                             6/6/2022
   968       331722   Paul Wilmoth                        The Kuykendall Group LLc                        7:21-cv-50715-MCR-GRJ                                             6/6/2022
   969       334720   Leonardo Ballesteros                The Kuykendall Group LLc                        7:21-cv-55145-MCR-GRJ                                             6/6/2022
   970       334732   Michael Hollins                     The Kuykendall Group LLc                        7:21-cv-55157-MCR-GRJ                                             6/6/2022
   971       334754   Austin Percival                     The Kuykendall Group LLc                                                   7:21-cv-55190-MCR-GRJ                  6/6/2022
   972       334796   Chad Booth                          The Kuykendall Group LLc                        7:21-cv-55280-MCR-GRJ                                             6/6/2022
   973       334798   Roberto Bouza                       The Kuykendall Group LLc                        7:21-cv-55284-MCR-GRJ                                             6/6/2022
   974       334801   Jermaine Thorpe                     The Kuykendall Group LLc                        7:21-cv-55291-MCR-GRJ                                             6/6/2022
   975       334820   David Freed                         The Kuykendall Group LLc                        7:21-cv-55327-MCR-GRJ                                             6/6/2022




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                                                                                                                                              Deadline to Submit Census Form to
   Row        PID                             Name                         Firm        Admin Docket Case Number   Active Docket Case Number
                                                                                                                                                          Defendants

   976       347406   Matthew Hessler                     The Russo Firm                7:21-cv-67405-MCR-GRJ                                             6/6/2022
   977       347411   Toby Lind                           The Russo Firm                7:21-cv-67410-MCR-GRJ                                             6/6/2022
   978       347416   Tiffany Ringler                     The Russo Firm                7:21-cv-67415-MCR-GRJ                                             6/6/2022
   979       347448   Mathew Hansen                       The Russo Firm                7:21-cv-67447-MCR-GRJ                                             6/6/2022
   980       347462   Darren Lunsford                     The Russo Firm                7:21-cv-67461-MCR-GRJ                                             6/6/2022
   981       347512   Terry Jenkins                       The Russo Firm                7:21-cv-67511-MCR-GRJ                                             6/6/2022
   982       347516   Joseph Jackson                      The Russo Firm                7:21-cv-67515-MCR-GRJ                                             6/6/2022
   983       347519   Timothy Simerly                     The Russo Firm                7:21-cv-67518-MCR-GRJ                                             6/6/2022
   984       347520   Dion Sanders                        The Russo Firm                7:21-cv-67519-MCR-GRJ                                             6/6/2022
   985       347523   Jacob Linville                      The Russo Firm                7:21-cv-67522-MCR-GRJ                                             6/6/2022
   986       347526   Vincent Flores                      The Russo Firm                7:21-cv-67525-MCR-GRJ                                             6/6/2022
   987       347527   Curtis Pates                        The Russo Firm                7:21-cv-67526-MCR-GRJ                                             6/6/2022
   988       347528   Cyrel Carter                        The Russo Firm                7:21-cv-67527-MCR-GRJ                                             6/6/2022
   989       347544   Richard Hefner                      The Russo Firm                7:21-cv-67543-MCR-GRJ                                             6/6/2022
   990       347546   William Starks                      The Russo Firm                7:21-cv-67545-MCR-GRJ                                             6/6/2022
   991       347548   Donald Vance                        The Russo Firm                7:21-cv-67547-MCR-GRJ                                             6/6/2022
   992       347550   Daniel Hartoin                      The Russo Firm                7:21-cv-67549-MCR-GRJ                                             6/6/2022
   993       347552   Eduardo Encinas                     The Russo Firm                7:21-cv-67551-MCR-GRJ                                             6/6/2022
   994       347553   Pra Sith Yang                       The Russo Firm                7:21-cv-67552-MCR-GRJ                                             6/6/2022
   995       347558   Kody Leonard                        The Russo Firm                7:21-cv-67557-MCR-GRJ                                             6/6/2022
   996       347565   Roy Jones                           The Russo Firm                7:21-cv-67563-MCR-GRJ                                             6/6/2022
   997       347574   Stephen Ryan                        The Russo Firm                7:21-cv-67572-MCR-GRJ                                             6/6/2022
   998       347576   Jack Baum                           The Russo Firm                7:21-cv-67574-MCR-GRJ                                             6/6/2022
   999       347581   Regina Diggs                        The Russo Firm                7:21-cv-67579-MCR-GRJ                                             6/6/2022
   1000      347592   Roger Foster                        The Russo Firm                7:21-cv-67590-MCR-GRJ                                             6/6/2022
   1001      347596   Stacey Langston                     The Russo Firm                7:21-cv-67594-MCR-GRJ                                             6/6/2022
   1002      347599   Randy Hester                        The Russo Firm                7:21-cv-67597-MCR-GRJ                                             6/6/2022
   1003      347600   Shanay Jones                        The Russo Firm                7:21-cv-67598-MCR-GRJ                                             6/6/2022
   1004      347601   Ashley Kluge                        The Russo Firm                7:21-cv-67599-MCR-GRJ                                             6/6/2022
   1005      347606   Daniel Funderburg                   The Russo Firm                7:21-cv-67604-MCR-GRJ                                             6/6/2022
   1006      347608   Brandon Bourne                      The Russo Firm                7:21-cv-67606-MCR-GRJ                                             6/6/2022
   1007      347609   Christopher Burghardt               The Russo Firm                7:21-cv-67607-MCR-GRJ                                             6/6/2022
   1008      347617   Greg Young                          The Russo Firm                7:21-cv-67615-MCR-GRJ                                             6/6/2022
   1009      347618   Cory Swindle                        The Russo Firm                7:21-cv-67616-MCR-GRJ                                             6/6/2022
   1010      347623   Shaif Uddin                         The Russo Firm                7:21-cv-67621-MCR-GRJ                                             6/6/2022
   1011      347625   Christopher Ford                    The Russo Firm                7:21-cv-67623-MCR-GRJ                                             6/6/2022
   1012      347627   Billy Konkel                        The Russo Firm                7:21-cv-67625-MCR-GRJ                                             6/6/2022
   1013      347628   Carlton Selph                       The Russo Firm                7:21-cv-67626-MCR-GRJ                                             6/6/2022
   1014      347633   David Parsons                       The Russo Firm                7:21-cv-67631-MCR-GRJ                                             6/6/2022
   1015      347634   Travis Johnson                      The Russo Firm                7:21-cv-67632-MCR-GRJ                                             6/6/2022
   1016      347635   Richard Cox                         The Russo Firm                7:21-cv-67633-MCR-GRJ                                             6/6/2022
   1017      347645   Steven Rodriguez                    The Russo Firm                7:21-cv-67643-MCR-GRJ                                             6/6/2022
   1018      347647   Jessica Trobaugh                    The Russo Firm                7:21-cv-67645-MCR-GRJ                                             6/6/2022
   1019      347650   Matthew Reynolds                    The Russo Firm                7:21-cv-67648-MCR-GRJ                                             6/6/2022
   1020      347653   Jeremy Richardson                   The Russo Firm                7:21-cv-67651-MCR-GRJ                                             6/6/2022
   1021      347657   Manuel Alvarez                      The Russo Firm                7:21-cv-67655-MCR-GRJ                                             6/6/2022
   1022      347662   Howard Dunaway                      The Russo Firm                7:21-cv-67660-MCR-GRJ                                             6/6/2022
   1023      347670   Matthew Nichols                     The Russo Firm                7:21-cv-67668-MCR-GRJ                                             6/6/2022
   1024      347674   Melissa Smith                       The Russo Firm                7:21-cv-67672-MCR-GRJ                                             6/6/2022
   1025      347689   Ronald Smith                        The Russo Firm                7:21-cv-67687-MCR-GRJ                                             6/6/2022
   1026      347692   Sean Barnhill                       The Russo Firm                7:21-cv-67690-MCR-GRJ                                             6/6/2022
   1027      347709   Lewis Garrison                      The Russo Firm                7:21-cv-67707-MCR-GRJ                                             6/6/2022
   1028      347716   Corey Clegg                         The Russo Firm                7:21-cv-67714-MCR-GRJ                                             6/6/2022
   1029      347721   Christopher Dennis                  The Russo Firm                7:21-cv-67719-MCR-GRJ                                             6/6/2022
   1030      347726   Lachandra Gums                      The Russo Firm                7:21-cv-67724-MCR-GRJ                                             6/6/2022
   1031      347732   Michael Patterson                   The Russo Firm                7:21-cv-67730-MCR-GRJ                                             6/6/2022
   1032      347744   Victor Macias                       The Russo Firm                7:21-cv-67742-MCR-GRJ                                             6/6/2022
   1033      347753   Oscar Nunez                         The Russo Firm                7:21-cv-67751-MCR-GRJ                                             6/6/2022
   1034      347759   Patrick Lambert                     The Russo Firm                7:21-cv-67757-MCR-GRJ                                             6/6/2022
   1035      347763   Kenneth Camp                        The Russo Firm                7:21-cv-67761-MCR-GRJ                                             6/6/2022
   1036      347774   Ivan Guzman                         The Russo Firm                7:21-cv-67772-MCR-GRJ                                             6/6/2022
   1037      347778   Kevin Hardin                        The Russo Firm                7:21-cv-67776-MCR-GRJ                                             6/6/2022
   1038      347782   Justin Allen                        The Russo Firm                7:21-cv-67780-MCR-GRJ                                             6/6/2022
   1039      347784   Brady Bice                          The Russo Firm                7:21-cv-67782-MCR-GRJ                                             6/6/2022
   1040      347786   Fernando Briones                    The Russo Firm                7:21-cv-67784-MCR-GRJ                                             6/6/2022
   1041      347791   Brian Beamon                        The Russo Firm                7:21-cv-67789-MCR-GRJ                                             6/6/2022
   1042      347807   Tyrone Garner                       The Russo Firm                7:21-cv-67805-MCR-GRJ                                             6/6/2022
   1043      347811   Justin East                         The Russo Firm                7:21-cv-67809-MCR-GRJ                                             6/6/2022
   1044      348062   Andrew Martinez                     The Russo Firm                7:21-cv-68059-MCR-GRJ                                             6/6/2022
   1045      348108   James Lawrence                      The Russo Firm                7:21-cv-68104-MCR-GRJ                                             6/6/2022
   1046      348225   Daniel Nazelrod                     The Russo Firm                7:21-cv-66076-MCR-GRJ                                             6/6/2022
   1047      348323   Christopher Amacher                 The Russo Firm                7:21-cv-66362-MCR-GRJ                                             6/6/2022
   1048      348396   Ame Manso                           The Russo Firm                7:21-cv-66460-MCR-GRJ                                             6/6/2022
   1049      348478   Christopher Crawford                The Russo Firm                7:21-cv-66541-MCR-GRJ                                             6/6/2022
   1050      348487   Sharissa Chestnut                   The Russo Firm                7:21-cv-66559-MCR-GRJ                                             6/6/2022




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                                                                                                                                                    Deadline to Submit Census Form to
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                                                                                                                                                                Defendants

   1051      348500   Yuri Johnson                        The Russo Firm                      7:21-cv-66584-MCR-GRJ                                             6/6/2022
   1052      348501   Constine Jack                       The Russo Firm                      7:21-cv-66586-MCR-GRJ                                             6/6/2022
   1053      348526   Anthony Dance                       The Russo Firm                      7:21-cv-66306-MCR-GRJ                                             6/6/2022
   1054      348527   Robert Bastic                       The Russo Firm                      7:21-cv-66304-MCR-GRJ                                             6/6/2022
   1055      348538   Paxton Flowers                      The Russo Firm                      7:21-cv-66359-MCR-GRJ                                             6/6/2022
   1056      348541   Steven Walraven                     The Russo Firm                      7:21-cv-66333-MCR-GRJ                                             6/6/2022
   1057      348556   Eric Adams                          The Russo Firm                      7:21-cv-66363-MCR-GRJ                                             6/6/2022
   1058      348560   Robert Love                         The Russo Firm                      7:21-cv-66367-MCR-GRJ                                             6/6/2022
   1059      348569   Gabrielle Merryman                  The Russo Firm                      7:21-cv-66395-MCR-GRJ                                             6/6/2022
   1060      348571   Nathan Barker                       The Russo Firm                      7:21-cv-66403-MCR-GRJ                                             6/6/2022
   1061      348587   Christopher Pires                   The Russo Firm                      7:21-cv-66682-MCR-GRJ                                             6/6/2022
   1062      348602   Thomas Butler                       The Russo Firm                      7:21-cv-66712-MCR-GRJ                                             6/6/2022
   1063      348605   Andre Quiller                       The Russo Firm                      7:21-cv-66719-MCR-GRJ                                             6/6/2022
   1064      348614   Timothy Storrs                      The Russo Firm                      7:21-cv-66737-MCR-GRJ                                             6/6/2022
   1065      348624   Jack Freeman                        The Russo Firm                      7:21-cv-66757-MCR-GRJ                                             6/6/2022
   1066      348625   Alexya Harter                       The Russo Firm                      7:21-cv-66759-MCR-GRJ                                             6/6/2022
   1067      348628   Lavon Rogers                        The Russo Firm                      7:21-cv-66765-MCR-GRJ                                             6/6/2022
   1068      348642   Pete Hernandez                      The Russo Firm                      7:21-cv-66795-MCR-GRJ                                             6/6/2022
   1069      348643   Elias Briseno                       The Russo Firm                      7:21-cv-66797-MCR-GRJ                                             6/6/2022
   1070      348644   Shane Eslick                        The Russo Firm                      7:21-cv-66799-MCR-GRJ                                             6/6/2022
   1071      348646   Alex Bernbaum                       The Russo Firm                      7:21-cv-66803-MCR-GRJ                                             6/6/2022
   1072      348649   Roger Lopez                         The Russo Firm                      7:21-cv-66809-MCR-GRJ                                             6/6/2022
   1073      348661   Tanya Hypolite                      The Russo Firm                      7:21-cv-66833-MCR-GRJ                                             6/6/2022
   1074      348662   Salvatore D"aquila                  The Russo Firm                      7:21-cv-68365-MCR-GRJ                                             6/6/2022
   1075      348663   Cory Lampkin                        The Russo Firm                      7:21-cv-66835-MCR-GRJ                                             6/6/2022
   1076      348664   Travis Hilkey                       The Russo Firm                      7:21-cv-66837-MCR-GRJ                                             6/6/2022
   1077      348665   John Carlin                         The Russo Firm                      7:21-cv-66839-MCR-GRJ                                             6/6/2022
   1078      348668   Kevin Nickerson                     The Russo Firm                      7:21-cv-66844-MCR-GRJ                                             6/6/2022
   1079      348669   Kyle Cobb                           The Russo Firm                      7:21-cv-66846-MCR-GRJ                                             6/6/2022
   1080      348671   Chris Barta                         The Russo Firm                      7:21-cv-66850-MCR-GRJ                                             6/6/2022
   1081      348672   Jose Marrero                        The Russo Firm                      7:21-cv-66852-MCR-GRJ                                             6/6/2022
   1082      348675   Cody Harris                         The Russo Firm                      7:21-cv-66858-MCR-GRJ                                             6/6/2022
   1083      348678   Douglas Mygrants                    The Russo Firm                      7:21-cv-66863-MCR-GRJ                                             6/6/2022
   1084      348682   Jay Reams                           The Russo Firm                      7:21-cv-66871-MCR-GRJ                                             6/6/2022
   1085      348685   Phillip Bowe                        The Russo Firm                      7:21-cv-66876-MCR-GRJ                                             6/6/2022
   1086      348688   Jonathan Hackman                    The Russo Firm                      7:21-cv-66882-MCR-GRJ                                             6/6/2022
   1087      348690   Richard Pietrulewicz                The Russo Firm                      7:21-cv-66886-MCR-GRJ                                             6/6/2022
   1088      348693   Kenneth Webster                     The Russo Firm                      7:21-cv-66892-MCR-GRJ                                             6/6/2022
   1089      348696   Christopher Brock                   The Russo Firm                      7:21-cv-66897-MCR-GRJ                                             6/6/2022
   1090      348700   Dustin Jenkins                      The Russo Firm                      7:21-cv-66905-MCR-GRJ                                             6/6/2022
   1091      348708   Lamar Daniels                       The Russo Firm                      7:21-cv-66920-MCR-GRJ                                             6/6/2022
   1092      348709   David Eisman                        The Russo Firm                      7:21-cv-66922-MCR-GRJ                                             6/6/2022
   1093      348714   Dillon Springer                     The Russo Firm                      7:21-cv-66932-MCR-GRJ                                             6/6/2022
   1094      348727   James Butts                         The Russo Firm                      7:21-cv-66956-MCR-GRJ                                             6/6/2022
   1095      348728   Kenneth Walker                      The Russo Firm                      7:21-cv-66958-MCR-GRJ                                             6/6/2022
   1096      348730   Nathan Burt                         The Russo Firm                      7:21-cv-66962-MCR-GRJ                                             6/6/2022
   1097      348731   Chad Phelps                         The Russo Firm                      7:21-cv-66964-MCR-GRJ                                             6/6/2022
   1098      348735   Austin Faulkner                     The Russo Firm                      7:21-cv-66972-MCR-GRJ                                             6/6/2022
   1099      348739   Velishia Guillory                   The Russo Firm                      7:21-cv-66980-MCR-GRJ                                             6/6/2022
   1100      348746   Juan Vonvogler                      The Russo Firm                      7:21-cv-66994-MCR-GRJ                                             6/6/2022
   1101      348749   Lucas Boyer                         The Russo Firm                      7:21-cv-66999-MCR-GRJ                                             6/6/2022
   1102      348752   Acie Ward                           The Russo Firm                      7:21-cv-67005-MCR-GRJ                                             6/6/2022
   1103      348754   Curry Simpson                       The Russo Firm                      7:21-cv-67009-MCR-GRJ                                             6/6/2022
   1104      348755   Allan Hoppenworth                   The Russo Firm                      7:21-cv-67010-MCR-GRJ                                             6/6/2022
   1105      348758   Christopher Erkkila                 The Russo Firm                      7:21-cv-67016-MCR-GRJ                                             6/6/2022
   1106      348777   William Paige                       The Russo Firm                      7:21-cv-67052-MCR-GRJ                                             6/6/2022
   1107      348778   Daniel Edge                         The Russo Firm                      7:21-cv-67054-MCR-GRJ                                             6/6/2022
   1108      348787   Patrick Teixeiira                   The Russo Firm                      7:21-cv-67071-MCR-GRJ                                             6/6/2022
   1109      348791   Gerald Aquino                       The Russo Firm                      7:21-cv-67078-MCR-GRJ                                             6/6/2022
   1110      348794   Jeremy Reeves                       The Russo Firm                      7:21-cv-67084-MCR-GRJ                                             6/6/2022
   1111      348799   Randy O"donnell                     The Russo Firm                      7:21-cv-68366-MCR-GRJ                                             6/6/2022
   1112      348808   Jesse Tucker                        The Russo Firm                      7:21-cv-67109-MCR-GRJ                                             6/6/2022
   1113      348809   Shionnae Thomas                     The Russo Firm                      7:21-cv-67110-MCR-GRJ                                             6/6/2022
   1114      348810   Jonathan Grogan                     The Russo Firm                      7:21-cv-67112-MCR-GRJ                                             6/6/2022
   1115      348813   Gvidas Viktoravicius                The Russo Firm                      7:21-cv-67118-MCR-GRJ                                             6/6/2022
   1116      348814   Yafeu Murray                        The Russo Firm                      7:21-cv-67119-MCR-GRJ                                             6/6/2022
   1117      348817   Robert Hunt                         The Russo Firm                      7:21-cv-67122-MCR-GRJ                                             6/6/2022
   1118      348820   Edgar Albelo                        The Russo Firm                      7:21-cv-67125-MCR-GRJ                                             6/6/2022
   1119      348825   Timothy Thompson                    The Russo Firm                      7:21-cv-67130-MCR-GRJ                                             6/6/2022
   1120      348835   Lonnie Derosa                       The Russo Firm                      7:21-cv-67140-MCR-GRJ                                             6/6/2022
   1121      348846   Christian Shanklin                  The Russo Firm                      7:21-cv-67151-MCR-GRJ                                             6/6/2022
   1122      348848   Kaleb Browning                      The Russo Firm                      7:21-cv-67153-MCR-GRJ                                             6/6/2022
   1123      360035   Liliana Delgado                     The Webster Law Firm                                           3:22-cv-02091-MCR-GRJ                  5/23/2022
   1124      360157   Bobby Cook                          The Webster Law Firm                                           3:22-cv-02074-MCR-GRJ                 5/19/2022
   1125      360173   Luis Garcia                         The Webster Law Firm                                           3:22-cv-02198-MCR-GRJ                  5/25/2022




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